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                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


  SECURITIES AND EXCHANGE                     §
  COMMISSION,                                 §
                                              §
        Plaintiff,                            §
                                              §
  v.                                          §   Civil Action No. 3:09-cv-0298-N
                                              §
  STANFORD INTERNATIONAL BANK,                §
  LTD., et al.,                               §
                                              §
        Defendants.                           §
                                              §


  RALPH S. JANVEY, in his capacity            §
  as Court-appointed receiver                 §
  for the Stanford Receivership               §
  Estate, the OFFICIAL STANFORD               §
  INVESTORS COMMITTEE; and PAM                §
  REED, SAMUEL TROICE and                     §
  MICHOACAN TRUST, individually and on        §   Civil Action No. 3:12-cv-04641-N
  behalf of a class of all others similarly   §
  situated,                                   §
                                              §
        Plaintiffs,                           §
                                              §
  v.                                          §
                                              §
  GREENBERG TRAURIG, LLP, and                 §
  GREENBERG TRAURIG, P.A.,                    §
                                              §
        Defendants.                           §




                                                                                     1
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                 APPENDIX TO EXPEDITED REQUEST FOR ENTRY OF
             SCHEDULING1 ORDER AND MOTION TO APPROVE PROPOSED
            SETTLEMENT WITH GREENBERG, TO ENTER THE BAR ORDER,
                 TO ENTER THE FINAL JUDGMENT AND BAR ORDER,
               AND FOR PLAINTIFFS’ ATTORNEYS’ FEES AND EXPENSES

         Ralph S. Janvey (the “Receiver”) and the Official Stanford Investors Committee (the

 “OSIC”), file this appendix (the “Appendix”) in support of the Expedited Request for Entry of

 Scheduling Order and Motion to Approve Proposed Settlement with Greenberg, to Enter the Bar

 Order, to Enter the Final Judgment and Bar Order, and for Plaintiffs’ Attorneys’ Fees and

 Expenses (the “Motion”).




 1
         Movants request that the Court promptly enter the Scheduling Order, without waiting the twenty one (21)
 days contemplated by Local Rule 7.1(e) for interested parties to respond to this Motion, because such Scheduling
 Order merely approves the notice and objection procedure and sets a final hearing, and does not constitute a final
 approval of the Settlement Agreement.




 Appendix - Motion to Approve Settlement with Greenberg                                                          2
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 Exhibit   Description

                                   APPENDIX MATERIALS

    1.     Settlement Agreement with Exhibits

    2.     Declaration of Edward C. Snyder

    3.     Declaration of Doug J. Buncher

    4.     Declaration of Judith R. Blakeway

    5.     Declaration of Scott Powers

    6.     Order Approving Attorneys’ Fees

    7.     Declaration of John J. Little

 Date: October 17, 2019.

 Respectfully submitted,

  CASTILLO SNYDER, P.C.                             NELIGAN, LLP

  By: /s/ Edward C. Snyder                          By: /s/ Douglas J. Buncher
     Edward C. Snyder                                  Douglas J. Buncher
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     (210) 630-4200                                    (214) 840-5301 (Facsimile)
     (210) 630-4210 (Facsimile)

  COUNSEL FOR THE PLAINTIFFS                       CLARK HILL STRASBURGER

                                                   By: /s/ Judith R. Blakeway
                                                       Judith R. Blakeway
                                                       judith.blakeway@clarkhillstrasburger.com
                                                       2301 Broadway
                                                       San Antonio, Texas 78215
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 Appendix - Motion to Approve Settlement with Greenberg                                      3
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                                 CERTIFICATE OF SERVICE

        On October 17, 2019, I electronically submitted the foregoing document with the clerk of
 the court of the U.S. District Court, Northern District of Texas, using the electronic case filing
 system of the Court. All parties who have appeared in this proceeding will be served via ECF.
 Investors and other interested parties will be served and given notice of the hearing on this
 Motion as approved by the Court.


                                                     /s/ Edward C. Snyder
                                                     Edward C. Snyder




 Appendix - Motion to Approve Settlement with Greenberg                                          4
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                        EXHIBIT 1
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                                 SETTLEMENT AGREEMENT

        THIS SETTLEMENT AGREEMENT (the “Agreement”) is made and entered into by

 and between (i) Ralph S. Janvey, solely in his capacity as the court-appointed receiver for the

 Stanford Receivership Estate (the “Receiver”); (ii) the Official Stanford Investors Committee (the

 “Committee”) (the Receiver and the Committee are collectively referred to as the “Plaintiffs”);

 and (iii) Greenberg Traurig, P.A. and Greenberg Traurig, LLP (individually and collectively,

 “Greenberg”) (Plaintiffs, on the one hand, and Greenberg, on the other hand, are referred to in this

 Agreement individually as a “Party” and together as the “Parties”);

        WHEREAS, on February 16, 2009, the U.S. Securities and Exchange Commission (the

 “SEC”) initiated SEC v. Stanford International Bank, Ltd., Civil Action No. 3:09-cv-00298-N

 (N.D. Tex.) (the “SEC Action”), alleging that Robert Allen Stanford, James M. Davis, Laura

 Pendergest-Holt, Stanford International Bank, Ltd. (“SIB”), Stanford Group Company, Stanford

 Capital Management, LLC, and Stanford Financial Group (the “Defendants”) had engaged in a

 fraudulent scheme affecting tens of thousands of customers from over one hundred countries;

        WHEREAS, in an order dated February 16, 2009, in the SEC Action (ECF No. 10), the

 United States District Court for the Northern District of Texas (the “Court”) assumed exclusive

 jurisdiction and took possession of the assets, and other tangible and intangible monies and

 property, as further set forth in that order, of the Defendants and all entities they own or control

 (the “Receivership Assets”), and the books and records, client lists, account statements, financial

 and accounting documents, computers, computer hard drives, computer disks, internet exchange

 servers, telephones, personal digital devices and other informational resources of or in possession

 of the Defendants, or issued by Defendants and in possession of any agent or employee of the

 Defendants (the “Receivership Records”);



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        WHEREAS, in that same order (ECF No. 10), Ralph S. Janvey was appointed Receiver

 for the Receivership Assets and the Receivership Records (collectively, the “Receivership Estate”)

 with the full power of an equity receiver under common law as well as such powers as are

 enumerated in that order, as amended by an order in that same matter, dated March 12, 2009 (ECF

 No. 157), and as further amended by an order entered in that same matter, dated July 19, 2010

 (ECF No. 1130);

        WHEREAS, Ralph S. Janvey has served as Receiver continuously since his appointment

 and continues to so serve;

        WHEREAS, John J. Little was appointed to serve as examiner (the “Examiner”) by an

 order entered in the SEC Action, dated April 20, 2009 (ECF No. 322), to assist the Court in

 considering the interests of the worldwide investors in any financial products, accounts, vehicles

 or ventures sponsored, promoted or sold by any defendants in the SEC Action;

        WHEREAS, John J. Little has served as Examiner continuously since his appointment and

 continues to so serve;

        WHEREAS, the Committee was created pursuant to an order entered in the SEC Action,

 dated August 10, 2010 (ECF No. 1149) (the “Committee Order”), to represent the customers of

 SIB, who, as of February 16, 2009, had funds on deposit at SIB, and/or were holding certificates

 of deposit (“CDs”) issued by SIB (the “Stanford Investors”);

        WHEREAS, by the Committee Order, the Examiner was named as the initial Chairperson

 of the Committee;

        WHEREAS, the Examiner has served as Chairperson of the Committee continuously since

 his appointment and continues to so serve;




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         WHEREAS, on November 15, 2012, the Receiver, the Committee, Samuel Troice,

 Michoacan Trust, and Sandra Dorrell (Samuel Troice, Michoacan Trust, Sandra Dorrell, and Pam

 Reed who was later substituted for Sandra Dorell, and the putative class they sought to represent,

 are referred to collectively herein as the “Investor Plaintiffs”) filed their Original Complaint –

 Class Action (the “Complaint”) captioned Janvey et al. v. Greenberg Traurig, LLP, et al., Case

 No. 3:12-cv-04641-N (N.D. Tex.) (the “Litigation”) naming Greenberg as one of several

 defendants;

         WHEREAS, by Orders in the Litigation dated December 17, 2014 (ECF No. 114), and

 February 4, 2015 (ECF No. 123), the Court granted in part and denied in part Greenberg’s motions

 to dismiss the Complaint, dismissing with prejudice (i) the Receiver’s and Committee’s claims for

 aiding and abetting fraudulent transfers; (ii) the Investor Plaintiffs’ TSA claims for aiding and

 abetting and civil conspiracy for the sale of unregistered securities and the sale of securities by an

 unregistered dealer arising from sales taking place prior to February 1, 2008; and (iii) the Investor

 Plaintiffs’ TSA claims for aiding and abetting and civil conspiracy for the sale of securities through

 untruth or omission arising from sales taking place prior to February 1, 2006; dismissing without

 prejudice the Receiver and Committee’s claims for breach of fiduciary duty; and declining to

 dismiss the Plaintiffs’ other claims against Greenberg;

         WHEREAS, by Order in the Litigation dated September 11, 2015 (ECF No. 146), the

 Court permitted the substitution of Pam Reed for Sandra Dorrell as a named plaintiff and putative

 class representative in the Litigation;

         WHEREAS, by Order in the Litigation dated December 5, 2017 (ECF 251), the Court

 granted Greenberg’s Motion for Judgment on the Pleadings (ECF 203) as to the claims by the

 Investor Plaintiffs;



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        WHEREAS, on October 12, 2018, the Receiver and the Investor Plaintiffs filed their

 Amended Complaint, and on November 19, 2018, the Receiver and the Investor Plaintiffs filed

 their Second Amended Complaint (the “Second Amended Complaint”) against Greenberg;

        WHEREAS, the Second Amended Complaint asserts “Receiver Claims” for Aiding,

 Abetting, or Participation in Breaches of Fiduciary Duties, Breaches of Fiduciary Duties,

 Fraudulent Transfer/Unjust Enrichment, and Negligent Retention/Negligent Supervision; and

 “Investor Class Causes of Action” for Aiding and Abetting Violations of the Texas Securities Act,

 Participation in/Aiding and Abetting Breach of Fiduciary Duty, Aiding and Abetting/Participation

 in a Fraudulent Scheme, Civil Conspiracy, and Respondeat Superior; seeks actual and punitive

 damages; and omits the Committee from the list of parties, and brings no claims on behalf of the

 Committee;

        WHEREAS, on April 17, 2019, the Fifth Circuit affirmed the Order in the Litigation dated

 December 5, 2017 (ECF 251) in which the Court granted Greenberg’s Motion for Judgment on the

 Pleadings (ECF 203) as to the claims by the Investor Plaintiffs, and the dismissal of the claims of

 the Investor Plaintiffs and affirmance are final and not subject to reopening or further proceedings;

        WHEREAS, Greenberg filed a Motion for Judgment on the Pleadings with Brief in

 Support (ECF 292 & 293) and a Motion for Summary Judgment with Brief and Appendix in

 Support (ECF 340, 341 & 342), the Receiver opposed both motions, and said motions have not

 been decided;

        WHEREAS, Greenberg expressly denies any and all allegations of wrongdoing, fault,

 liability, or damages whatsoever and is entering into this Agreement solely to avoid the burden,

 very substantial expense, and risks of litigation;




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          WHEREAS, Plaintiffs have conducted an investigation into the facts and the law relating

  to the Litigation and after considering the results of that investigation and the benefits of this

  Settlement, as well as the burden, expense, and risks of litigation, have concluded that a settlement

  with Greenberg under the terms set forth below is fair, reasonable, adequate, and in the best

  interests of the Plaintiffs, the Interested Parties, the Investor Plaintiffs, and all Persons affected by

  the Stanford Entities, and have agreed to enter into the Settlement and this Agreement, and to use

  their best efforts to effectuate the Settlement and this Agreement;

          WHEREAS, the Parties desire to fully, finally, and forever compromise and effect a global

  settlement and discharge of all claims, disputes, and issues between them;

          WHEREAS, the Parties have engaged in extensive, good-faith, and arm’s-length

  negotiations, including participation in the following mediations by representatives of the Parties:

  a mediation in 2012 with McGowan Dispute Resolution in Houston, Texas; a mediation in May,

  2018 with Phillips ADR in Corona del Mar, California; and a mediation in May, 2019 with Judge

  Alice Oliver-Parrot in Dallas, Texas; and in further discussions following the conclusion of the

  aforementioned mediations, leading to this Agreement;

          WHEREAS, absent approval of this Settlement, the Litigation will likely take many more

  years and cost the Parties millions of dollars to litigate to final judgment and through appeals, and

  the outcome of all such litigation would have been uncertain;

          WHEREAS, in Zacarias v. Stanford Int'l Bank, Ltd., 931 F.3d 382, 387 (5th Cir. 2019),

  the Fifth Circuit confirmed approval of a settlement that was conditioned on bar orders enjoining

  related Ponzi-scheme suits filed against the defendants in that litigation and entry of the bar orders;




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          WHEREAS, the Examiner, both in his capacity as Chairperson of the Committee and in

  his capacity as the Court-appointed Examiner, participated in the negotiation of the Settlement;

          WHEREAS, the Committee has approved this Agreement and the terms of the Settlement,

  as evidenced by the signature hereon of the Examiner in his capacity as Chairperson of the

  Committee;

          WHEREAS, the Examiner, in his capacity as Examiner, has reviewed this Agreement and

  the terms of the Settlement and, as evidenced by his signature hereon, has approved this Agreement

  and the terms of the Settlement and will recommend that this Agreement, and the terms of the

  Settlement be approved by the Court and implemented; 1 and

          WHEREAS, the Receiver has reviewed and approved this Agreement and the terms of the

  Settlement, as evidenced by his signature hereon;

          NOW, THEREFORE, in consideration of the agreements, covenants, and releases set

  forth herein, and other good and valuable consideration, the receipt and sufficiency of which are

  hereby acknowledged, the Parties agree as follows:

  I.      Agreement Date

          1.       This Agreement shall take effect once all Parties have signed the Agreement as of

  the date of the last signature to the Agreement (the “Agreement Date”).

  II.     Terms Used in this Agreement

          The following terms, as used in this Agreement, the Bar Order (defined in Paragraph 20),

  and the Judgment and Bar Order (defined in Paragraph 20), have the following meanings:




  1
   The Examiner has also executed this Agreement to confirm his obligation to post Notice on his website, as required
  herein, but is not otherwise individually a party to the Settlement or the Litigation.


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         2.      “Attorneys’ Fees” means those fees awarded by the Court to Plaintiffs’ counsel

  from the Settlement Amount pursuant to the terms of the applicable engagement agreements.

         3.      “Greenberg Released Parties” means Greenberg Traurig, LLP, Greenberg Traurig,

  P.A., and all of their predecessor firms and, of each of the foregoing, all of their respective past

  and present subsidiaries, parents, predecessors, affiliates, related entities and divisions, and all of

  their respective past, present, and future successors, and all of their respective current and former

  partners, members, counsel, principals, participating principals, associates, managing or other

  agents, management personnel, officers, directors, shareholders, administrators, servants,

  employees, staff, consultants, advisors, attorneys, accountants, lenders, insurers and reinsurers,

  representatives, successors and assigns, known or unknown, in their representative capacity or

  individual capacity. Notwithstanding the foregoing, “Greenberg Released Parties” shall not

  include (x) any Person, other than Greenberg, who is a party to one or more of the actions or

  proceedings listed in Exhibit G (i) against whom, on the Agreement Date, the Receiver or the

  Committee is asserting claims or causes of action in any such action or proceeding, or (ii) with

  whom, as of the Agreement Date, the Receiver or the Committee has entered into a settlement

  agreement relating to any such action or proceeding and final approval of such settlement

  agreement remains pending; or (y) any Person, other than Greenberg, who is a party to one or more

  of the actions or proceedings listed in Exhibit H with whom, as of the Agreement Date, the

  Receiver or the Committee has entered into a settlement agreement relating to any such action or

  proceeding and final approval of such settlement agreement remains pending, provided, however,

  that to the extent that any such Persons are insurers or reinsurers of Greenberg, such Persons shall

  nonetheless be included in the definition of “Greenberg Released Parties” in their capacity, but

  only in their capacity, as insurers or reinsurers of Greenberg.



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         4.      “Claim” means a Person’s potential or asserted right to receive funds from the

  Receivership Estate or the funds and assets subject to the authority of the Joint Liquidators (defined

  below).

         5.      “Claimant” means any Person who has submitted a Claim to the Receiver or to the

  Joint Liquidators (defined below). Where a Claim has been transferred to a third party and such

  transfer has been acknowledged by the Receiver or the Joint Liquidators, the transferee is a

  Claimant, and the transferor is not a Claimant unless the transferor has retained a Claim that has

  not been transferred. Where the Receiver or the Joint Liquidators have disallowed a Claim and

  the disallowance has become Final, then the submission of the disallowed Claim does not make

  the Person who submitted it a Claimant.

         6.      “Confidential Information” means the communications and discussions in

  connection with the negotiations and mediations that led to the Settlement and this Agreement.

  Confidential Information also includes the existence and terms of the Settlement and this

  Agreement, but only until the filing of this Agreement and related documents with the Court.

         7.      “Distribution Plan” means the plan hereafter approved by the Court for the

  distribution of the Settlement Amount (net of any attorneys’ fees or costs that are awarded by the

  Court) to Stanford Investors who have had their Claims allowed by the Receiver (“Allowed

  Claims”).

         8.      “Final” means unmodified after the conclusion of, or expiration of any right of any

  Person to pursue, any and all possible forms and levels of appeal, reconsideration, or review,

  judicial or otherwise, including by a court or Forum of last resort, wherever located, whether

  automatic or discretionary, whether by appeal or otherwise. The Bar Order and Judgment and Bar



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  Order shall include findings under Federal Rule of Civil Procedure 54(b) and will become Final

  as set forth in this paragraph as though such orders were entered as judgments at the end of a case,

  and the continuing pendency of the SEC Action and the Litigation shall not be construed as

  preventing such Bar Order and Judgment and Bar Order from becoming Final.

          9.      “Forum” means any court, adjudicative body, tribunal, or jurisdiction, whether its

  nature is federal, foreign, state, administrative, regulatory, arbitral, local, or otherwise.

          10.     “Hearing” means a formal proceeding in open court before the United States

  District Judge having jurisdiction over the SEC Action and the Litigation.

          11.     “Interested Parties” means the Receiver; the Receivership Estate; the Committee;

  the members of the Committee; the Plaintiffs; the Investor Plaintiffs; the Stanford Investors; the

  Claimants; the Examiner; the Joint Liquidators; or any Person or Persons alleged by the Receiver,

  the Committee, or other Person or entity on behalf of the Receivership Estate to be liable to the

  Receivership Estate, whether or not a formal proceeding has been initiated.

          12.     “Joint Liquidators” means Hugh Dickson and Mark McDonald, in their capacities

  as the joint liquidators appointed by the Eastern Caribbean Supreme Court in Antigua and Barbuda

  to take control of and manage the affairs and assets of SIB or any of their successors or

  predecessors.

          13.     “Notice” means a communication, in substantially the form attached hereto as

  Exhibit A, describing (a) the material terms of the Settlement; (b) the material terms of this

  Agreement; (c) the rights and obligations of the Interested Parties with regard to the Settlement

  and this Agreement; (d) the deadline for the filing of objections to the Settlement, the Agreement,

  the Bar Order, and the Judgment and Bar Order; and (e) the date, time, and location of the Hearing




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  to consider final approval of the Settlement, this Agreement, the Bar Order, and the Judgment and

  Bar Order.

          14.     “Person” means any individual, entity, governmental authority, agency or quasi-

  governmental person or entity, worldwide, of any type, including, without limitation, any

  individual, partnership, corporation, limited liability company, estate, trust, committee, fiduciary,

  association, proprietorship, organization, or business, regardless of location, residence, or

  nationality.

          15.     “Plaintiffs Released Parties” means the Receiver, the Examiner, the Committee,

  and each of their counsel. Plaintiffs Released Parties also includes each of the foregoing persons’

  respective past, present, and future directors, officers, legal and equitable owners, shareholders,

  members, managers, principals, employees, associates, representatives, distributees, agents,

  attorneys, trustees, general and limited partners, lenders, insurers and reinsurers, direct and indirect

  parents, subsidiaries, affiliates, related entities, divisions, partnerships, corporations, executors,

  administrators, heirs, beneficiaries, assigns, predecessors, predecessors in interest, successors, and

  successors in interest.

          16.     “Releasor” means any Person granting a release of any Settled Claim.

          17.     “Settled Claim” means any action, cause of action, suit, liability, claim, right of

  action, right of levy or attachment, or demand whatsoever, whether or not currently asserted,

  known, suspected, existing, or discoverable, and whether based on federal law, state law, foreign

  law, common law, or otherwise, and whether based on contract, tort, statute, law, equity or

  otherwise, that a Releasor ever had, now has, or hereafter can, shall, or may have, directly,

  representatively, derivatively, or in any other capacity, for, upon, arising from, relating to, or by

  reason of any matter, cause, or thing whatsoever, that, in full or in part, concerns, relates to, arises



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  out of, or is in any manner connected with (i) the Stanford Entities; (ii) any CD, depository account,

  or investment of any type with any one or more of the Stanford Entities; (iii) Greenberg’s

  relationship with any one or more of the Stanford Entities and/or any of their personnel; (iv)

  Greenberg’s provision of services to or for the benefit of or on behalf of the Stanford Entities; or

  (v) any matter that was asserted in, could have been asserted in, or relates to the subject matter of

  the SEC Action, the Litigation, or any proceeding concerning the Stanford Entities pending or

  commenced in any Forum. “Settled Claims” specifically includes, without limitation, all claims

  each Releasor does not know or suspect to exist in his, her, or its favor at the time of release, which,

  if known by that Person, might have affected their decisions with respect to this Agreement and

  the Settlement (“Unknown Claims”). Each Releasor expressly waives, releases, and relinquishes

  any and all provisions, rights, and benefits conferred by any law or principle, in the United States

  or elsewhere, which governs or limits the release of unknown or unsuspected claims, including,

  without limitation, California Civil Code § 1542, which provides:

                  A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                  WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO
                  EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING
                  THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST
                  HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT
                  WITH THE DEBTOR.

  Each Releasor acknowledges that he, she, or it may hereafter discover facts different from, or in

  addition to, those which such Releasor now knows or believes to be true with respect to the Settled

  Claims, but nonetheless agrees that this Agreement, including the releases granted herein, will

  remain binding and effective in all respects notwithstanding such discovery. Unknown Claims

  include contingent and non-contingent claims, whether or not concealed or hidden, without regard

  to the subsequent discovery or existence of different or additional facts. These provisions

  concerning unknown and unsuspected claims and the inclusion of Unknown Claims in the


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  definition of Settled Claims were separately bargained for and are an essential element of this

  Agreement and the Settlement.

         18.       “Settlement” means the agreed resolution of the Settled Claims in the manner set

  forth in this Agreement.

         19.       “Settlement Amount” means Sixty-Five Million Dollars ($65,000,000.00) in

  United States currency.

         20.       “Settlement Effective Date” means the date on which the last of all of the following

  have occurred:

                   a.     entry in the SEC Action of a bar order including findings under Federal Rule

  of Civil Procedure 54(b) and in substantially the form attached hereto as Exhibit B (the “Bar

  Order”);

                   b.     entry in the Litigation of a judgment and bar order in substantially the form

  attached hereto as Exhibit C (the “Judgment and Bar Order”); and

                   c.     the Bar Order and the Judgment and Bar Order have both become Final.

         21.       “Stanford Entities” means Robert Allen Stanford; James M. Davis; Laura

  Pendergest-Holt; Gilbert Lopez; Mark Kuhrt; SIB; Stanford Group Company; Stanford Capital

  Management, LLC; Stanford Financial Group; the Stanford Financial Bldg Inc.; the entities listed

  in Exhibit D to this Agreement; and any entity of any type that was owned, controlled by, or

  affiliated with Robert Allen Stanford, James M. Davis, Laura Pendergest-Holt, Gilbert Lopez,

  Mark Kuhrt, SIB, Stanford Group Company, Stanford Capital Management, LLC, Stanford

  Financial Group, or the Stanford Financial Bldg Inc., on or before February 16, 2009.




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         22.      “Taxes” means any and all taxes, whether federal, state, local, or other taxes related

  to the Settlement or the Settlement Amount, and costs incurred in connection with such taxation

  including, without limitation, the fees and expenses of tax attorneys and accountants.

  III.   Delivery of Settlement Amount

         23.     Dismissal of Litigation: The Litigation shall be fully and finally resolved and

  concluded and considered dismissed as to Greenberg by the Judgment and Bar Order being entered

  in the Litigation and becoming Final.

         24.     Delivery of Settlement Amount: Within thirty (30) days after the Settlement

  Effective Date, Greenberg shall deliver or cause to be delivered the Settlement Amount to the

  Receiver by wire transfer in accordance with wire transfer instructions provided by the Receiver

  for purposes of receiving the payment.

  IV.    Use and Management of Settlement Amount

         25.     Management and Distribution of Settlement Amount: If and when the Settlement

  Amount is delivered to the Receiver pursuant to the terms of this Agreement, the Receiver shall

  receive and take custody of the Settlement Amount and shall maintain, manage, and distribute the

  Settlement Amount in accordance with the Distribution Plan and under the supervision and

  direction and with the approval of the Court. The Receiver shall be responsible for all Taxes, fees,

  and expenses that may be due with respect to the Settlement Amount or the management, use,

  administration, or distribution of the Settlement Amount.

         26.     No Liability: Greenberg and the Greenberg Released Parties shall have no liability,

  obligation, or responsibility whatsoever with respect to the investment, management, use,

  administration, or distribution of the Settlement Amount or any portion thereof, including, but not

  limited to, the costs and expenses of such investment, management, use, administration, or

  distribution of the Settlement Amount, and any Taxes arising therefrom or relating thereto.

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  Nothing in this Paragraph 26 shall alter Greenberg’s obligations to deliver the Settlement Amount

  to the Receiver pursuant to the terms of this Agreement.

  V.     Motion for Scheduling Order, Bar Order, and Judgment and Bar Order and Form
         and Procedure for Notice

         27.     Motion: On a date mutually acceptable to the Parties that is not more than thirty

  (30) days from the Agreement Date, unless otherwise agreed by the Parties in writing, via e-mail

  or otherwise, Plaintiffs shall submit to the Court a motion requesting entry of an order substantially

  in the form attached hereto as Exhibit E (the “Scheduling Order”) (a) preliminarily approving the

  Settlement; (b) approving the content and plan for publication and dissemination of Notice;

  (c) setting the date by which any objection to the Settlement or this Agreement must be filed; and

  (d) scheduling a Hearing to consider final approval of the Settlement and entry of the orders

  required by Paragraph 20 of this Agreement. With respect to the content and plan for publication

  and dissemination of Notice, Plaintiffs will propose that Notice in substantially the form attached

  hereto as Exhibit A, be sent via electronic mail, first-class mail or international delivery service

  to all Interested Parties; sent via electronic service to all counsel of record for any Person who is,

  at the time of Notice, a party in any case included in In re Stanford Entities Securities Litigation,

  MDL No. 2099 (N.D. Tex.) (the “MDL”), the SEC Action, or the Litigation who are deemed to

  have consented to electronic service through the Court’s CM/ECF System under Local Rule CV-

  5.1(d); sent via facsimile transmission and/or first class mail to any other counsel of record for any

  other Person who is, at the time of service, a party in any case included in the MDL, the SEC

  Action, or the Litigation; and posted on the websites of the Receiver and the Examiner along with

  complete copies of this Agreement and all filings with the Court relating to the Settlement, this

  Agreement, and approval of the Settlement.         Plaintiffs will further propose that Notice in

  substantially the form attached hereto as Exhibit F be published once in the national edition of


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  The Wall Street Journal and once in the international edition of The New York Times. In advance

  of filing the motion papers to accomplish the foregoing, Plaintiffs shall provide Greenberg with a

  reasonable opportunity to review and comment on such motion papers.

           28.    Notice Preparation and Dissemination: The Receiver shall be responsible for the

  preparation and dissemination of the Notice pursuant to this Agreement and as directed by the

  Court. In the absence of intentional refusal by the Receiver to prepare and disseminate Notice

  pursuant to this Agreement or a court order, no Interested Party or any other Person shall have any

  recourse against the Receiver with respect to any claims that may arise from or relate to the Notice

  process. In the case of intentional refusal by the Receiver to prepare and disseminate Notice

  pursuant to this Agreement or a court order, Greenberg shall not have any claim against the

  Receiver other than the ability to seek specific performance. The Parties do not intend to give any

  other Person any right or recourse against the Receiver in connection with the Notice process.

           29.    No Recourse Against Greenberg: No Interested Party or any other Person shall have

  any recourse against Greenberg or the Greenberg Released Parties with respect to any claims that

  may arise from or relate to the Notice process.

           30.    Motion Contents: In the motion papers referenced in Paragraph 27 above, Plaintiffs

  shall request that the Court, inter alia:

                  a.      approve the Settlement and its terms as set out in this Agreement;

                  b.      enter an order finding that this Agreement and the releases set forth herein

  are final and binding on the Parties;

                  c.      enter in the SEC Action a Bar Order in the form attached hereto as Exhibit

  B; and




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                  d.      enter in the Litigation a Judgment and Bar Order in the form attached hereto

  as Exhibit C.

           31.    Parties to Advocate: The Parties shall take all reasonable steps to advocate for and

  encourage the Court to approve the terms of this Agreement and to advocate for and encourage the

  Court to apply the releases and bar orders to as broad a population as is within the Court’s authority

  to do.

           32.    No Challenge: No Party shall challenge the approval of the Settlement, and no Party

  will encourage or assist any Interested Party in challenging the Settlement.

  VI.      Rescission if the Settlement is Not Finally Approved or the Bar Order and
           Judgment and Bar Order are Not Entered

           33.    Right to Withdraw: The Parties represent and acknowledge that the following were

  necessary to the Parties’ agreement to this Settlement, are each an essential term of the Settlement

  and this Agreement, and that the Settlement would not have been reached in the absence of these

  terms: (a) Court approval of the Settlement and the terms of this Agreement without amendment

  or revision; (b) entry by the Court of the Bar Order in the SEC Action in substantially the form

  attached hereto as Exhibit B; (c) entry by the Court of the Judgment and Bar Order in the Litigation

  in substantially the form attached hereto as Exhibit C; and (d) all such approvals and orders

  becoming Final, pursuant to Paragraphs 8 and 20 of this Agreement. If the Court refuses to provide

  the approvals described in (a); if the Court refuses to enter the bar orders described in (b) or (c)

  without material modification; or if the final result of any appeal from the approvals and orders

  described in (a), (b), or (c) is that any of the approvals or orders are not affirmed, in their entirety

  and without material modification or limitation, then any Party has the right to withdraw its

  agreement to the Settlement and to this Agreement by providing to all other Parties written notice

  of such withdrawal, within fourteen (14) days of the order or judicial determination giving rise to


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  the right to withdraw. The effective date of the withdrawal will be twenty-one (21) days after the

  notice of same, during which time the Parties agree to work together in good faith to attempt to

  negotiate an alternative settlement that either does not require court approval or that addresses the

  circumstances that led to the denial of the approval of this Settlement Agreement or the request for

  entry of the bar orders. For purposes of this Section VI, the Party making the election to withdraw

  has the sole and absolute discretion to determine whether a modification or limitation to the

  approvals or bar orders described in (a), (b) or (c) is material. Notwithstanding anything in this

  Agreement to the contrary, however, the following shall not give Greenberg a right to withdraw:

  a determination by either 1) the Court after an objection by a non-Party filed in response to the

  motion or application to approve the settlement, or 2) the United States Court of Appeals for the

  Fifth Circuit or the United States Supreme Court that the Court lacks authority to cause the release

  of the claims of, or to enforce the bar orders contained in the Judgment and Bar Order against, a

  person or entity other than a Party in the Litigation. Further, the Parties agree that for the purposes

  of both this paragraph and Paragraph 20, the Bar Order and Judgment and Bar Order ultimately

  entered by the Court or as modified as a result of any appeal will be considered to be substantially

  in the form of Exhibits B and C notwithstanding any determination by the Court or the Fifth Circuit

  or the United States Supreme Court that the Bar Order and Judgment and Bar Order shall not

  release, or bar the claims of, a person or group of persons who are not Parties to the Litigation.

         34.     In the event that any Party withdraws its agreement to the Settlement or this

  Agreement as allowed in paragraph 33, this Agreement will be null and void and of no further

  effect whatsoever, shall not be admissible in any ongoing or future proceedings for any purpose

  whatsoever (except for the provisions of paragraph 33 and this paragraph 34, which shall survive),

  and shall not be the subject or basis for any claims by any Party against any other Party. If any



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  Party withdraws from this Agreement pursuant to the terms of paragraph 33, then each Party shall

  be returned to such Party’s respective position immediately prior to such Party’s execution of the

  Agreement.

         35.     The Parties do not have the right to withdraw from, or otherwise terminate, the

  Agreement for any reason other than the reasons identified in Paragraph 33. The following

  paragraphs of this Agreement shall survive termination of the Agreement: 33, 34, 35, 46 and 47.

  VII.   Distribution Plan

         36.     Duties: The Receiver, with the approval and guidance of the Court, shall be solely

  responsible for preparing, filing a motion seeking approval of, and implementing the Distribution

  Plan including, without limitation, receiving, managing and disbursing the Settlement Amount.

  The Receiver owes no duties to Greenberg or the Greenberg Released Parties in connection with

  the distribution of the Settlement Amount or the Distribution Plan, and if the Receiver complies

  with all orders issued by the Court relating to the Distribution Plan neither Greenberg nor the

  Greenberg Released Parties may assert any claim or cause of action against the Receiver in

  connection with the distribution of the Settlement Amount or the Distribution Plan. In no event

  will the Receiver or the Receivership Estate be liable for damages or the payment or re-payment

  of funds of any kind as a result of any deficiency associated with the distribution of the Settlement

  Amount or the Distribution Plan.

         37.     Distribution by Check: The Receiver must include the following statement, without

  alteration (except that additional releasees may be included if the Receiver includes in the

  distribution check funds from settlements with such other releasees), on the reverse of all checks

  sent to Claimants pursuant to the Distribution Plan, above where the endorser will sign:

                 BY ENDORSING THIS CHECK, I RELEASE ALL CLAIMS,
                 KNOWN OR NOT, AGAINST GREENBERG TRAURIG, P.A.
                 AND GREENBERG TRAURIG, LLP, THEIR PARTNERS, AND

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                  EMPLOYEES (WHETHER CURRENT OR PAST), ARISING
                  FROM OR RELATING TO STANFORD INTERNATIONAL
                  BANK, LTD. OR ANY OF ITS RELATED ENTITIES AND
                  ACCEPT THIS PAYMENT IN FULL SATISFACTION
                  THEREOF.

          38.     No Responsibility: Greenberg and the Greenberg Released Parties shall have no

  responsibility, obligation, or liability whatsoever with respect to the terms, interpretation, or

  implementation of the Distribution Plan; the administration of the Settlement; the management,

  investment, or distribution of the Settlement Amount or any other funds paid or received in

  connection with the Settlement; the payment or withholding of Taxes that may be due or owing

  by the Receiver or any recipient of funds from the Settlement Amount; the determination,

  administration, calculation, review, or challenge of claims to the Settlement Amount, any portion

  of the Settlement Amount, or any other funds paid or received in connection with the Settlement

  or this Agreement; or any losses, attorneys’ fees, expenses, vendor payments, expert payments, or

  other costs incurred in connection with any of the foregoing matters. As of the Settlement Effective

  Date, the Plaintiffs, the Plaintiffs Released Parties, the Interested Parties, and all other individuals,

  persons or entities Plaintiffs represent or on whose behalf Plaintiffs have been empowered to act

  by any court fully, finally, and forever release, relinquish, and discharge Greenberg and the

  Greenberg Released Parties from any and all such responsibility, obligation, and liability.

  VIII. Releases, Covenant Not to Sue, and Permanent Injunction

          39.     Release of Greenberg Released Parties: As of the Settlement Effective Date, each

  of the Plaintiffs, including, without limitation, the Receiver on behalf of the Receivership Estate

  (including the Stanford Entities but not including the natural persons listed in Paragraph 21 of this

  Agreement), fully, finally, and forever release, relinquish, and discharge, with prejudice, all Settled

  Claims against Greenberg and the Greenberg Released Parties.



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         40.     Release of Plaintiffs Released Parties: As of the Settlement Effective Date,

  Greenberg fully, finally, and forever releases, relinquishes, and discharges, with prejudice, all

  Settled Claims against Plaintiffs Released Parties.

         41.     No Release of Obligations Under Agreement: Notwithstanding anything to the

  contrary in this Agreement, the releases and covenants contained in this Agreement do not release

  the Parties’ rights and obligations under this Agreement or the Settlement, nor do they bar the

  Parties from enforcing or effectuating this Agreement or the Settlement.

         42.     Covenant Not to Sue: Effective as of the Agreement Date, Plaintiffs covenant not

  to, directly or indirectly, or through a third party, institute, reinstitute, initiate, commence,

  maintain, continue, file, encourage, solicit, support, participate in, collaborate in, or otherwise

  prosecute against any of the Greenberg Released Parties any action, lawsuit, cause of action, claim,

  investigation, demand, complaint, or proceeding, whether individually, derivatively, on behalf of

  a class, as a member of a class, or in any other capacity whatsoever, concerning or relating to the

  Settled Claims, whether in a court or any other Forum. Effective as of the Agreement Date,

  Greenberg covenants not to, directly or indirectly, or through a third party, institute, reinstitute,

  initiate, commence, maintain, continue, file, encourage, solicit, support, participate in, collaborate

  in, or otherwise prosecute against any of the Plaintiffs Released Parties any action, lawsuit, cause

  of action, claim, investigation, demand, complaint, or proceeding, whether individually,

  derivatively, on behalf of a class, as a member of a class, or in any other capacity whatsoever,

  concerning or relating to the Settled Claims, whether in a court or any other Forum.

  Notwithstanding the foregoing, however, the Parties retain the right to sue for alleged breaches of

  this Agreement.




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  IX.    Representations and Warranties

         43.     No Assignment, Encumbrance, or Transfer: The Plaintiffs, other than the Receiver,

  represent and warrant that they are the owners of the Settled Claims that they are releasing under

  this Agreement and that they have not, in whole or in part, assigned, encumbered, sold, pledged as

  security, or in any manner transferred or compromised any of the Settled Claims that they are

  releasing under this Agreement. The Receiver represents and warrants that he is the owner of the

  Settled Claims that he is releasing under this Agreement and that, other than assigning those Settled

  Claims against Greenberg that the Receiver transferred to the Committee, he has not, in whole or

  in part, assigned, encumbered, sold, pledged as security, or in any manner transferred or

  compromised any of the Settled Claims that he is releasing under this Agreement. Greenberg

  represents that it is the owner of the Settled Claims that it is releasing under this Agreement and

  that it has not, in whole or in part, assigned, encumbered, sold, pledged as security, or in any

  manner transferred or compromised any of the Settled Claims that it is releasing under this

  Agreement.

         44.     Bar Order. The Parties represent and warrant to each other that, other than the

  Litigation, they are not presently aware of (a) any undismissed or otherwise extant claim or action

  against any of the Greenberg Released Parties concerning (i) the Settled Claims or (ii) the

  wrongdoing of the Stanford Entities that was the subject of the Second Amended Complaint, or

  (b) any person or entity intending to file such an action. The Parties further represent and warrant

  to each other that they are not aware of a current decision of the Fifth Circuit or Supreme Court

  invalidating the Bar Order.

         45.     Authority: Each person executing this Agreement or any related documents

  represents and warrants that he or she has the full authority to execute the documents on behalf of

  the entity each represents and that each has the authority to take appropriate action required or

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  permitted to be taken pursuant to this Agreement to effectuate its terms. The Committee represents

  and warrants that the Committee has approved this Agreement in accordance with the by-laws of

  the Committee.

  X.     No Admission of Fault or Wrongdoing

         46.     The Settlement, this Agreement, and the negotiation and mediation thereof shall in

  no way constitute, be construed as, or be evidence of an admission or concession of any violation

  of any statute or law; of any fault, liability, or wrongdoing; or of any infirmity in the claims or

  defenses of the Parties with regard to any of the complaints, claims, allegations, or defenses

  asserted or that could have been asserted in the Litigation or any other proceeding relating to any

  Settled Claim, or any other proceeding in any Forum. The Settlement and this Agreement are a

  resolution of disputed claims in order to avoid the risk and very substantial expense of protracted

  litigation. The Settlement, this Agreement, and evidence thereof shall not be used, directly or

  indirectly, in any way, in the Litigation, the SEC Action, or in any other proceeding, other than to

  enforce the terms of the Settlement and this Agreement.

  XI.    Confidentiality

         47.     Confidentiality: Except as necessary to obtain Court approval of this Agreement,

  to provide the Notices as required by this Agreement, or to enforce the terms of the Settlement and

  this Agreement, the Parties and their counsel will keep confidential and shall not publish,

  communicate, or otherwise disclose, directly or indirectly, in any manner whatsoever, Confidential

  Information to any Person except that (i) a Party may disclose Confidential Information to a person

  or entity to whom disclosure is required pursuant to law or regulation, but only after providing

  prompt notice to the other Parties; (ii) Greenberg shall be permitted to disclose to its own officers,

  shareholders, employees, affiliates, current and potential insurers, insurance brokers, lawyers,

  auditors or accountants, on a confidential or attorney-client basis, the Settlement, the Agreement,

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  its terms, the amount of the Settlement, and information about the Settlement negotiations; and

  (iii) a Party may disclose Confidential Information to a person or entity if the Party has obtained

  prior written consent from all other Parties. Notwithstanding anything else in this Agreement or

  otherwise, such consent may be transmitted by e-mail.

  XII.   Non-Disparagement

         48.     In connection with the Settlement and this Agreement, Plaintiffs and their counsel

  shall not make, disseminate, or publish any statement outside of Court, including a statement in

  the press, that would denigrate or embarrass Greenberg, or that is otherwise negative or derogatory

  towards Greenberg. Nothing in this paragraph shall prevent the Receiver or his counsel from

  reporting the Receiver’s activities to the Court, the Examiner, or the SEC; from responding as

  necessary to inquiries from the Court or other governmental authorities; or from carrying out any

  of the Receiver’s duties under any order addressing the scope of the Receiver’s duties, including

  but not limited to the Second Amended Receivership Order (SEC Action, ECF No. 1130) or other

  order addressing the scope of the Receiver’s duties.

         49.     In connection with the Settlement and this Agreement, Greenberg and its counsel

  shall not make, disseminate, or publish any statement outside of Court, including a statement in

  the press, which would denigrate or embarrass Plaintiffs. Nothing in this paragraph shall prevent

  Greenberg from reporting its activities to the Court; from responding as necessary to inquiries from

  the Court or other governmental authorities; from taking any step it believes, in its sole and

  absolute discretion, is necessary to enforce the Settlement or this Agreement; from responding to

  any request by Plaintiffs or any other person for discovery from Greenberg in any other litigation

  related to the Stanford Entities or any subpoena or request for production; or from discussing the

  Settled Claims, the Settlement, and this Agreement with its own officers, shareholders, employees,

  affiliates, current and potential insurers, insurance brokers, lawyers, auditors or accountants.

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         50.     Except as otherwise provided herein, the Parties shall not make any statement about

  the Settled Claims or the claims in the Second Amended Complaint except that Plaintiffs may say

  “Plaintiffs “believe that the claims against Greenberg were valid,” and Greenberg may say “We

  believe we had no liability on the claims.”

  XIII. Miscellaneous

         51.     Final and Complete Resolution: The Parties intend this Agreement and the

  Settlement to be and constitute, to the greatest extent possible, a final, complete, and worldwide

  resolution of all matters and disputes between (1) the Plaintiffs Released Parties, and the Interested

  Parties, on the one hand, and (2) the Greenberg Released Parties on the other hand, and this

  Agreement, including its exhibits, shall be interpreted to effectuate this purpose.

         52.     Binding Agreement: As of the Agreement Date, this Agreement shall be binding

  upon and shall inure to the benefit of the Parties and their respective heirs, executors,

  administrators, successors, and assigns. No Party may assign any of its rights or obligations under

  this Agreement without the express written consent of the other Parties.

         53.     Incorporation of Recitals: The Recitals (i.e. “whereas” clauses) contained in this

  Agreement are essential terms of this Agreement and are incorporated herein for all purposes.

         54.     Disclaimer of Reliance: The Parties represent and acknowledge that in negotiating

  and entering into the Settlement and this Agreement they have not relied on, and have not been

  induced by, any representation, warranty, statement, estimate, communication, or information, of

  any nature whatsoever, whether written or oral, by, on behalf of, or concerning any Party, any

  agent of any Party, or otherwise, except as expressly set forth in this Agreement. To the contrary,

  each of the Parties affirmatively represents and acknowledges that the Party is relying solely on

  the express terms contained within this Agreement. The Parties have each consulted with legal

  counsel and advisors, have considered the advantages and disadvantages of entering into the

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  Settlement and this Agreement, and have relied solely on their own judgment and the advice of

  their respective legal counsel in negotiating and entering into the Settlement and this Agreement.

         55.     Third-Party Beneficiaries: This Agreement is not intended to and does not create

  rights enforceable by any Person other than the Parties (or their respective heirs, executors,

  administrators, successors, and assigns, as provided in Paragraph 52 of this Agreement), except

  that the Greenberg Released Parties and the Plaintiff Released Parties are third-party beneficiaries

  of and may enforce the release or covenant not to sue as it relates to said Person.

         56.     Negotiation, Drafting, and Construction: The Parties agree and acknowledge that

  they each have reviewed and cooperated in the preparation of this Agreement, that no Party should

  or shall be deemed the drafter of this Agreement or any provision hereof, and that any rule,

  presumption, or burden of proof that would construe this Agreement, any ambiguity, or any other

  matter, against the drafter shall not apply and is waived. The Parties are entering into this

  Agreement freely, after good-faith, arm’s-length negotiation, with the advice of counsel, and in

  the absence of coercion, duress, and undue influence. The titles and headings in this Agreement

  are for convenience only, are not part of this Agreement, and shall not bear on the meaning of this

  Agreement. The words “include,” “includes,” or “including” shall be deemed to be followed by

  the words “without limitation.” The words “and” and “or” shall be interpreted broadly to have the

  most inclusive meaning, regardless of any conjunctive or disjunctive tense. Words in the

  masculine, feminine, or neuter gender shall include any gender. The singular shall include the

  plural and vice versa. “Any” shall be understood to include and encompass “all,” and “all” shall

  be understood to include and encompass “any.”

         57.     Cooperation: The Parties agree to execute any additional documents reasonably

  necessary to finalize and carry out the terms of this Agreement. In the event a third party or any



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  Person other than a Party at any time challenges any term of this Agreement or the Settlement,

  including the Bar Order and the Judgment and Bar Order, the Parties agree to cooperate with each

  other, including using reasonable efforts to make documents or personnel available as needed to

  defend any such challenge. Further, the Parties shall reasonably cooperate to defend and enforce

  each of the orders required under Paragraph 20 of this Agreement.

         58.    Notice: Any notices, documents, or correspondence of any nature required to be

  sent pursuant to this Agreement shall be transmitted by both e-mail and overnight delivery to the

  following recipients, and will be deemed transmitted upon receipt by the overnight delivery

  service.

                        If to Greenberg:

                        Greenberg Traurig LLP
                        Attn: General Counsel
                        Martin I. Kaminsky
                        Met Life Building
                        200 Park Avenue
                        New York, NY 10166
                        Telephone: (212) 801-6892
                        Facsimile: 212-805-5523
                        Email: kaminskym@gtlaw.com

                        and

                        Stuart H. Singer
                        Boies Schiller Flexner LLP
                        401 East Las Olas Blvd.
                        Suite 1200
                        Fort Lauderdale, FL 33304
                        Telephone: (954) 356-0011
                        Facsimile: (954) 356-0022
                        E-mail: ssinger@bsfllp.com

                        and

                        Murray Fogler
                        Fogler, Brar, Ford, O’Neil & Gray LLP
                        909 Fannin, Suite 1640
                        Houston, Texas 77010

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                   Telephone: (713) 481-1010
                   Facsimile: (713) 574-3224
                   E-mail: mfogler@fbfog.com


                   If to Plaintiffs:

                   Edward C. Snyder
                   Castillo Snyder, PC
                   One Riverwalk Place
                   700 N. St. Mary’s, Suite 405
                   San Antonio, Texas 78205
                   Telephone: 210-630-4200
                   Fax: 210-630-4210
                   E-mail: esnyder@casnlaw.com

                   and

                   Douglas J. Buncher
                   Neligan LLP
                   325 N. St. Paul, Suite 3600
                   Dallas, Texas 75201
                   Telephone: 214-840-5320
                   Fax: 214-840-5301
                   E-mail: dbuncher@neliganlaw.com

                   and

                   Judith R. Blakeway
                   Clark Hill Strasburger
                   2301 Broadway
                   San Antonio, Texas 78215
                   Telephone:     (210) 250-6004
                   Facsimile:     (210) 258-2706
                   E-mail: judith.blakeway@clark hillstrasburger.com

                   and

                   John J. Little
                   Little Pedersen Fankhauser LLP
                   901 Main Street, Suite 4110
                   Dallas, Texas 75202
                   Telephone: 214.573.2307
                   Fax: 214.573.2323
                   E-mail: jlittle@lpf-law.com

                   and

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                           Ralph S. Janvey
                           2100 Ross Ave
                           Suite 2600
                           Dallas, TX 75201
                           E-mail: rjanvey@kjllp.com

                           and

                           Kevin Sadler
                           Baker Botts
                           1001 Page Mill Road
                           Building One, Suite 200
                           Palo Alto, California 94304-1007
                           E-mail: kevin.sadler@bakerbotts.com

  Each Party shall provide notice of any change to the service information set forth above to all other

  Parties by the means set forth in this paragraph.

          59.     Choice of Law: This Agreement shall be governed by and construed and enforced

  in accordance with the laws of the State of Texas, without regard to the choice-of-law principles

  of Texas or any other jurisdiction.

          60.     Mandatory, Exclusive Forum Selection Clause: Any dispute, controversy, or claim

  arising out of or related to the Settlement or this Agreement, including breach, interpretation,

  effect, or validity of this Agreement, whether arising in contract, tort, or otherwise, shall be brought

  exclusively in the United States District Court for the Northern District of Texas. With respect to

  any such action, the Parties irrevocably stipulate and consent to personal and subject matter

  jurisdiction and venue in such court, and waive any argument that such court is inconvenient,

  improper, or otherwise an inappropriate forum.

          61.     United States Currency: All dollar amounts in this Agreement are expressed in

  United States dollars.

          62.     Timing: If any deadline imposed by this Agreement falls on a non-business day,

  then the deadline is extended until the next business day.

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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


   SECURITIES AND EXCHANGE
   COMMISSION,

                                      Plaintiff,
                                                      Civil Action No. 3:09-cv-00298-N
   v.

   STANFORD INTERNATIONAL BANK, LTD,
   et al.,
                                      Defendants.



   RALPH S. JANVEY, in his capacity as Court-
   appointed receiver for the Stanford Receivership
   Estate; the OFFICIAL STANFORD
   INVESTORS COMMITTEE; PAM REED;
   SAMUEL TROICE; and MICHOACAN
   TRUST; individually and on behalf of a class of
   all others similarly situated,
                                                      Civil Action No. 3:12-cv-04641-N
                                     Plaintiffs,

    v.

   GREENBERG TRAURIG, LLP; HUNTON &
   WILLIAMS, LLP; AND YOLANDA SUAREZ,
                                     Defendants.


              NOTICE OF SETTLEMENT AND BAR ORDER PROCEEDINGS

         PLEASE TAKE NOTICE that Ralph S. Janvey, in his capacity as the Court-appointed

  Receiver for the Stanford Receivership Estate (the “Receiver”) and the Official Stanford

  Investors Committee (the “Committee”) (the Receiver and the Committee, collectively, the

  “Plaintiffs”), have reached an agreement (the “Settlement Agreement”) to settle all claims




                                                                                EXHIBIT A
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  asserted or that could have been asserted against Greenberg Traurig, P.A. and Greenberg

  Traurig, LLP (individually and collectively, “Greenberg”) in Janvey v. Greenberg Traurig LLP

  et al., No. 3:12-cv-04641-N (N.D. Tex.) (the “Litigation”).

          PLEASE TAKE FURTHER NOTICE that the Plaintiffs have filed an Expedited Request

  for Entry of Scheduling Order and Motion to Approve Proposed Settlement with Greenberg, to

  Approve the Proposed Notice of Settlement with Greenberg, to Enter the Bar Order, to Enter the

  Rule 54(b) Final Judgment and Bar Order, and for Plaintiffs’ Attorneys’ Fees (the “Motion”),

  filed in SEC v. Stanford Int’l Bank, Ltd., No. 3:09-cv-0298-N (N.D. Tex.) (the “SEC Action”).

  Copies of the Settlement Agreement, the Motion, and other supporting papers may be obtained

  from the Court’s docket in the SEC Action (ECF No. ____), and are also available on the

  websites of the Receiver (http://www.stanfordfinancialreceivership.com) and the Examiner

  (www.lpf-law.com/examiner-stanford-financial-group/). Copies of these documents may also be

  requested by email, by sending the request to Nadia Ramon at legalassistant@casnlaw.com; or

  by telephone, by calling (210) 630-4200. All capitalized terms not defined in this Notice of

  Settlement and Bar Order Proceedings are defined in the Settlement Agreement, attached as

  Exhibit 1 of the Appendix to the Motion.

          PLEASE TAKE FURTHER NOTICE that the Motion requests that the Court approve the

  Settlement and enter a bar order permanently enjoining, among others, Interested Parties,1




  1
      “Interested Parties” means the Receiver; the Receivership Estate; the Committee; the members of the
      Committee; the Plaintiffs; the Investor Plaintiffs; the Stanford Investors; the Claimants; the Examiner; or any
      Person or Persons alleged by the Receiver, the Committee, or other Person or entity on behalf of the
      Receivership Estate to be liable to the Receivership Estate, whether or not a formal proceeding has been
      initiated.

                                                          2
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  including Stanford Investors,2 Investor Plaintiffs,3 Claimants,4 and Joint Liquidators5 from

  pursuing Settled Claims,6 including claims you may possess, against Greenberg.

          PLEASE TAKE FURTHER NOTICE that the settlement amount is sixty-five million

  U.S. dollars ($65,000,000.00) (the “Settlement Amount”). The Settlement Amount, less any fees

  and costs awarded by the Court to the attorneys for Plaintiffs and expenses paid by the Receiver

  (the “Net Settlement Amount”), will be deposited with and distributed by the Receiver pursuant

  to a Distribution Plan hereafter to be approved by the Court in the SEC Action (see subparagraph

  e below).

          This matter may affect your rights and you may wish to consult an attorney.

          The material terms of the Settlement Agreement are as follows:




  2
      “Stanford Investors” means customers of Stanford International Bank, Ltd., who, as of February 16, 2009, had
      funds on deposit at Stanford International Bank, Ltd., and/or were holding certificates of deposit issued by
      Stanford International Bank, Ltd.
  3
      “Investor Plaintiffs” means Samuel Troice, Michoacan Trust, Sandra Dorrell, Pam Reed, and the putative class
      they sought to represent.
  4
      “Claimants” means any Persons who have submitted a Claim to the Receiver or to the Joint Liquidators.
  5
      “Joint Liquidators” means Hugh Dickson and Mark McDonald, in their capacities as the joint liquidators
      appointed by the Eastern Caribbean Supreme Court in Antigua and Barbuda to take control of and manage the
      affairs and assets of SIB or any of their successors or predecessors.
  6
      “Settled Claim” generally means any action, cause of action, suit, liability, claim, right of action, right of levy or
      attachment, or demand whatsoever, whether or not currently asserted, known, suspected, existing, or
      discoverable, and whether based on federal law, state law, foreign law, common law, or otherwise, and whether
      based on contract, tort, statute, law, equity or otherwise, that a Releasor ever had, now has, or hereafter can,
      shall, or may have, directly, representatively, derivatively, or in any other capacity, for, upon, arising from,
      relating to, or by reason of any matter, cause, or thing whatsoever, that, in full or in part, concerns, relates to,
      arises out of, or is in any manner connected with (i) the Stanford Entities; (ii) any CD, depository account, or
      investment of any type with any one or more of the Stanford Entities; (iii) Greenberg’s relationship with any
      one or more of the Stanford Entities and/or any of their personnel; (iv) Greenberg’s provision of services to or
      for the benefit of or on behalf of the Stanford Entities; or (v) any matter that was asserted in, could have been
      asserted in, or relates to the subject matter of the SEC Action, the Litigation, or any proceeding concerning the
      Stanford Entities pending or commenced in any Forum. “Settled Claims” specifically includes, without
      limitation, all claims each Releasor does not know or suspect to exist in his, her, or its favor at the time of
      release, which, if known by that Person, might have affected their decisions with respect to this Agreement and
      the Settlement (“Unknown Claims”). See Paragraph 17 of the Settlement Agreement for a complete definition
      of Settled Claim. (ECF No. __.)

                                                             3
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                    a) Greenberg will pay $65 million, which will be deposited with the Receiver as

                         required pursuant to the Settlement Agreement;

                    b) Plaintiffs will fully release the Greenberg Released Parties7 from Settled

                         Claims, e.g., claims arising from or relating to Robert Allen Stanford, the

                         Stanford Entities,8 or any conduct by the Greenberg Released Parties relating

                         to Robert Allen Stanford or the Stanford Entities, with prejudice;

                    c) The Settlement Agreement seeks entry of a Rule 54(b) Final Judgment and

                         Bar Order in the Litigation, and entry of a Final Bar Order in the SEC Action,

                         each of which permanently enjoins, among others, Interested Parties,

                         including all Stanford Investors, Investor Plaintiffs, and Claimants, from

                         bringing, encouraging, assisting, continuing, or prosecuting, against

                         Greenberg or any of the Greenberg Released Parties, the Litigation, or any

                         action, lawsuit, cause of action, claim, investigation, demand, complaint, or

                         proceeding of any nature, including, without limitation, contribution or

                         indemnity claims, arising from or relating to a Settled Claim;



  7
      “Greenberg Released Parties” generally means Greenberg Traurig, LLP, Greenberg Traurig, P.A., and all of
      their predecessor firms and, of each of the foregoing, all of their respective past and present subsidiaries,
      parents, predecessors, affiliates, related entities and divisions, and all of their respective past, present, and future
      successors, and all of their respective current and former partners, members, counsel, principals, participating
      principals, associates, managing or other agents, management personnel, officers, directors, shareholders,
      administrators, servants, employees, staff, consultants, advisors, attorneys, accountants, lenders, insurers and
      reinsurers, representatives, successors and assigns, known or unknown, in their representative capacity or
      individual capacity. See Paragraph 3 of the Settlement Agreement for a complete definition of Greenberg
      Released Parties. (ECF No. __.)
  8
      “Stanford Entities” means Robert Allen Stanford; James M. Davis; Laura Pendergest-Holt; Gilbert Lopez; Mark
      Kuhrt; SIB; Stanford Group Company; Stanford Capital Management, LLC; Stanford Financial Group; the
      Stanford Financial Bldg Inc.; the entities listed in Exhibit D to the Settlement Agreement (ECF No. __); and any
      entity of any type that was owned, controlled by, or affiliated with Robert Allen Stanford, James M. Davis,
      Laura Pendergest-Holt, Gilbert Lopez, Mark Kuhrt, SIB, Stanford Group Company, Stanford Capital
      Management, LLC, Stanford Financial Group, or the Stanford Financial Bldg Inc., on or before February 16,
      2009.

                                                              4
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                d) The Receiver will disseminate notice of the Settlement Agreement (i.e. this

                    Notice) to Interested Parties, through one or more of the following: mail,

                    email, international delivery, CM/ECF notification, facsimile transmission,

                    and/or publication on the websites maintained by the Examiner (www.lpf-

                    law.com/examiner-stanford-financial-group/)        and       the      Receiver

                    (http://www.stanfordfinancialreceivership.com);

                e) The Receiver will develop and submit to the Court for approval a plan for

                    distributing the Net Settlement Amount (the “Distribution Plan”);

                f) Under the Distribution Plan, once approved, the Net Settlement Amount will

                    be distributed by the Receiver, under the supervision of the Court, to Stanford

                    Investors who have submitted Claims that have been allowed by the Receiver;

                g) Persons who accept funds from the Settlement Amount will, upon accepting

                    the funds, fully release the Greenberg Released Parties from any and all

                    Settled Claims; and

                h) The Litigation will be dismissed with prejudice as to Greenberg, with each

                    party bearing its own costs and attorneys’ fees.

         Attorneys for the Plaintiffs seek a fee award based upon 25% of the Settlement Amount,

  pursuant to 25% contingency fee agreements with the Plaintiffs. Twenty-Five percent of the net

  recovery from the Settlement is to be calculated but shall not exceed $15,896,235.75.

         The final hearing on the Motion is set for [__________________] (the “Final Approval

  Hearing”). Any objection to the Settlement Agreement or its terms, the Motion, the Rule 54(b)

  Final Judgment and Bar Order, the Final Bar Order, or the request for approval of the Plaintiffs’

  attorneys’ fees must be filed, in writing, with the Court in the SEC Action no later than [insert



                                                  5
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  date of 21st day before Final Approval Hearing]. Any objections not filed by this date will be

  deemed waived and will not be considered by the Court. Those wishing to appear and to orally

  present their written objections at the Final Approval Hearing must include a request to so appear

  within their written objections.




                                                  6
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

   SECURITIES AND EXCHANGE                          §
   COMMISSION,                                      §
                                                    §
          Plaintiff,                                §
                                                    §
   v.                                               §    Civil Action No. 3:09-CV-0298-N
                                                    §
   STANFORD INTERNATIONAL BANK,                     §
   LTD., et al.,                                    §
                                                    §
          Defendants.

                                      FINAL BAR ORDER

         Before the Court is the Expedited Request for Entry of Scheduling Order and Motion to

  Approve Proposed Settlement with Greenberg, to Approve the Proposed Notice of Settlement

  with Greenberg, to Enter the Bar Order, to Enter the Rule 54(b) Final Judgment and Bar Order,

  and for Plaintiffs’ Attorneys’ Fees (the “Motion”) of Ralph S. Janvey, in his capacity as the

  Court-appointed Receiver for the Stanford Receivership Estate (the “Receiver”), and the Court-

  appointed Official Stanford Investors Committee (the “Committee”), the plaintiffs in Janvey et

  al. v. Greenberg Traurig, LLP et al., Civil Action No. 3:12-cv-04641-N (N.D. Tex.) (the

  “Litigation”) (the Receiver and the Committee, collectively, the “Plaintiffs”). (ECF No. ____.)

  The Motion concerns a proposed settlement (the “Settlement”) among and between the Plaintiffs

  and Greenberg Traurig, P.A. and Greenberg Traurig, LLP (individually and collectively,

  “Greenberg”), two of the defendants in the Litigation. Plaintiffs and Greenberg are referred to

  together as the “Parties.” John J. Little, the Court-appointed Examiner (the “Examiner”) signed




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  the Settlement Agreement1 as chair of the Committee and as Examiner solely to evidence his

  support and approval of the Settlement and to confirm his obligation to post the Notice on his

  website, but is not otherwise individually a party to the Settlement or the Litigation.

          Following notice and a hearing, and having considered the filings and heard the

  arguments of counsel, the Court hereby GRANTS the Motion.

  I. INTRODUCTION

          The Litigation and this case both arise from a series of events leading to the collapse of

  Stanford International Bank, Ltd. (“SIBL”). On February 16, 2009, this Court appointed Ralph S.

  Janvey to be the Receiver for SIBL and related parties (the “Stanford Entities”). (ECF No. 10).

  After years of diligent investigation, the Plaintiffs believe that they have identified claims against

  a number of third parties, including Greenberg, which Plaintiffs allege enabled the Stanford

  Ponzi scheme.       In the Litigation, the Plaintiffs assert claims against Greenberg, and other

  defendants in that action, for negligence, aiding and abetting breaches of fiduciary duties,

  breaches of fiduciary duties, fraudulent transfer/unjust enrichment, aiding and abetting fraudulent

  transfers, negligent retention, aiding and abetting violations of the Texas Securities Act, aiding

  and abetting a fraudulent scheme, and civil conspiracy.2 Greenberg denies that it is liable for any

  of those claims and asserts numerous defenses to each of those claims.



  1
      The “Settlement Agreement” refers to the Settlement Agreement that is attached as Exhibit 1 of the Appendix to
      the Motion (ECF No. __).
  2
      In addition to Plaintiffs, claims were also originally brought by Samuel Troice, Michoacan Trust, Sandra
      Dorrell, and Pam Reed, who was substituted for Sandra Dorell, on behalf of themselves and a putative class.
      (Samuel Troice, Michoacan Trust, Sandra Dorrell, and Pam Reed, and the putative class they sought to
      represent, are referred to collectively herein as the “Investor Plaintiffs.”) By Orders in the Litigation dated
      December 17, 2014 (ECF No. 114), and February 4, 2015 (ECF No. 123), the Court granted in part and denied
      in part Greenberg’s motions to dismiss the Complaint, dismissing with prejudice (i) the Receiver’s and
      Committee’s claims for aiding and abetting fraudulent transfers; (ii) the Investor Plaintiffs’ TSA claims for


  FINAL BAR ORDER                                         2

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         Multiparty settlement negotiations occurred in 2012, and additional settlement

  negotiations between Greenberg and Plaintiffs occurred in late 2018 and into 2019. In these

  negotiations, potential victims of the Stanford Ponzi scheme were well-represented.                             The

  Committee—which the Court appointed to “represent[] in this case and related matters” the

  “customers of SIBL who, as of February 16, 2009, had funds on deposit at SIBL and/or were

  holding certificates of deposit issued by SIBL (the ‘Stanford Investors’)” (ECF No. 1149)—the

  Receiver, and the Examiner—who the Court appointed to advocate on behalf of “investors in any

  financial products, accounts, vehicles or ventures sponsored, promoted or sold by any Defendant

  in this action” (ECF No. 322)—all participated in these extensive, arm’s-length negotiations. In

  August 2019, the Parties reached agreement resulting in the Settlement. For several weeks

  thereafter, the Parties continued efforts to negotiate and document the terms of the Settlement

  Agreement.

         Under the terms of the Settlement, Greenberg will pay $65 million (the “Settlement

  Amount”) to the Receivership Estate, which (less attorneys’ fees and expenses) will be

  distributed to Stanford Investors. In return, Greenberg seeks total peace with respect to all

  claims that have been, or could have been, asserted against Greenberg or any other of the

  Greenberg Released Parties, arising out of the events leading to these proceedings. Accordingly,


     aiding and abetting and civil conspiracy for the sale of unregistered securities and the sale of securities by an
     unregistered dealer arising from sales taking place prior to February 1, 2008; (iii) the Investor Plaintiffs’ TSA
     claims for aiding and abetting and civil conspiracy for the sale of securities through untruth or omission arising
     from sales taking place prior to February 1, 2006; dismissing without prejudice the Receiver and Committee’s
     claims for breach of fiduciary duty; and declining to dismiss the other claims against Greenberg. By Order in
     the Litigation dated December 5, 2017 (ECF No. 251), the Court granted Greenberg’s Motion for Judgment on
     the Pleadings (ECF No. 203) as to the claims by the Investor Plaintiffs, and on April 17, 2019, the Fifth Circuit
     Court of Appeals affirmed this Order; the dismissal of the claims of the Investor Plaintiffs and affirmance are
     final and not subject to reopening or further proceedings. In addition, in the Second Amended Complaint, dated
     November 19, 2018, claims on behalf of the Committee were dropped.



  FINAL BAR ORDER                                          3

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  the Settlement is conditioned on the Court’s approval and entry of this Final Bar Order enjoining

  those Interested Parties over whom the Court has authority to do so from asserting or prosecuting

  claims against Greenberg or any other of the Greenberg Released Parties.

         On October 17, 2019, the Plaintiffs filed the Motion. (ECF No. ____). The Court

  thereafter entered a Scheduling Order on____ __, 2019 (ECF No. ____), which, inter alia,

  authorized the Receiver to provide notice of the Settlement, established a briefing schedule on

  the Motion, and set the date for a hearing. On ________________, the Court held the scheduled

  hearing. For the reasons set forth herein, the Court finds that the terms of the Settlement

  Agreement are adequate, fair, reasonable, and equitable, and that the Settlement should be and is

  hereby APPROVED. The Court further finds that entry of this Final Bar Order is appropriate

  and necessary.

  II. ORDER

  It is hereby ORDERED, ADJUDGED, AND DECREED as follows:

         1.        Terms used in this Final Bar Order that are defined in the Settlement Agreement,

  unless expressly otherwise defined herein, have the same meaning as in the Settlement

  Agreement (which is deemed incorporated herein by reference).

         2.        The Court has “broad powers and wide discretion to determine the appropriate

  relief in [this] equity receivership,” including the authority to enter the Final Bar Order. SEC v.

  Kaleta, 530 F. App’x 360, 362 (5th Cir. 2013) (internal quotations omitted). Moreover, the

  Court has jurisdiction over the subject matter of this action, and the Plaintiffs are proper parties

  to seek entry of this Final Bar Order.

         3.        The Court finds that the methodology, form, content, and dissemination of the

  Notice: (i) were implemented in accordance with the requirements of the Scheduling Order;

  FINAL BAR ORDER                                  4

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  (ii) constituted the best practicable notice; (iii) were reasonably calculated, under the

  circumstances, to apprise all Interested Parties of the Settlement, the releases therein, and the

  injunctions provided for in this Final Bar Order and in the Rule 54(b) Final Judgment and Bar

  Order to be entered in the Litigation; (iv) were reasonably calculated, under the circumstances, to

  apprise all Interested Parties of the right to object to the Settlement, this Final Bar Order, and the

  Rule 54(b) Final Judgment and Bar Order to be entered in the Litigation, and to appear at the

  Final Approval Hearing; (v) were reasonable and constituted due, adequate, and sufficient notice;

  (vi) met all applicable requirements of law, including, without limitation, the Federal Rules of

  Civil Procedure, the United States Constitution (including Due Process), and the Rules of the

  Court; and (vii) provided to all Persons a full and fair opportunity to be heard on these matters.

         4.      The Court finds that the Settlement, including, without limitation, the Settlement

  Amount, was reached following an extensive investigation of the facts and resulted from

  vigorous, good faith, arm’s-length, mediated negotiations involving experienced and competent

  counsel. The Court further finds that (i) significant issues exist as to the merits and value of the

  claims asserted against Greenberg by Plaintiffs and by others whose potential claims are

  foreclosed by this Final Bar Order; (ii) such claims contain complex and novel issues of law and

  fact that would require a substantial amount of time and expense to litigate, with uncertainty

  regarding whether such claims would be successful; (iii) a significant risk exists that future

  litigation costs would dissipate Receivership Assets and that Plaintiffs and other persons who

  have submitted claims to the Receiver (“Claimants”) may not ultimately prevail on their claims;

  (iv) Plaintiffs and Claimants who have filed Claims with the Receiver will receive partial

  satisfaction of their claims from the Settlement Amount being paid pursuant to the Settlement;

  and (v) Greenberg would not have agreed to the terms of the Settlement in the absence of this

  FINAL BAR ORDER                                   5

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  Final Bar Order and assurance of “total peace” with respect to all claims that have been, or could

  be, asserted by persons over whom the Court has authority arising from Greenberg’s relationship

  with the Stanford Entities. See SEC v. Kaleta, No. 4:09-3674, 2012 WL 401069, at *4 (S.D.

  Tex. Feb. 7, 2012), aff’d, 530 F. App’x 360 (5th Cir. 2013) (approving these factors for

  consideration in evaluating whether a settlement and bar order are sufficient, fair, and necessary).

  The injunction against such claims as set forth herein is therefore a necessary and appropriate

  order ancillary to the relief obtained for victims of the Stanford Ponzi scheme pursuant to the

  Settlement. See Kaleta, 530 F. App’x at 362 (affirming a bar order and injunction against

  investor claims as “ancillary relief” to a settlement in an SEC receivership proceeding). After

  careful consideration of the record and applicable law, the Court concludes that the Settlement is

  the best option for maximizing the net amount recoverable from Greenberg for the Receivership

  Estate, Plaintiffs, and the Claimants.

         5.      Pursuant to the Settlement Agreement and upon motion by the Receiver, this

  Court will approve a Distribution Plan that will fairly and reasonably distribute the net proceeds

  of the Settlement to Stanford Investors who have Claims approved by the Receiver. The Court

  finds that the Receiver’s claims process and the Distribution Plan contemplated in the Settlement

  Agreement have been designed to ensure that all Stanford Investors have received an opportunity

  to pursue their Claims through the Receiver’s claims process previously approved by the Court

  (ECF No. 1584).

         6.      The Court further finds that the Parties and their counsel have at all times

  complied with the requirements of Rule 11 of the Federal Rules of Civil Procedure.

         7.      Accordingly, the Court finds that the Settlement is, in all respects, fair,

  reasonable, and adequate, and in the best interests of all Persons claiming an interest in, having

  FINAL BAR ORDER                                  6

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  authority over, or asserting a claim against Greenberg, the Stanford Entities, or the Receivership

  Estate, including but not limited to the Plaintiffs, the Investor Plaintiffs, and the Interested

  Parties. The Court also finds that this Final Bar Order is a necessary component to achieve the

  Settlement. The Settlement, the terms of which are set forth in the Settlement Agreement, is

  hereby fully and finally approved. The Parties are directed to implement and consummate the

  Settlement in accordance with the terms and provisions of the Settlement Agreement and this

  Final Bar Order.

         8.      Pursuant to the provisions of 38 of the Settlement Agreement, as of the Settlement

  Effective Date, Greenberg and the rest of the Greenberg Released Parties shall be completely

  released, acquitted, and forever discharged from any action, cause of action, suit, liability, claim,

  right of action, or demand whatsoever, whether or not currently asserted, known, suspected,

  existing, or discoverable, and whether based on federal law, state law, foreign law, common law,

  or otherwise, and whether based on contract, tort, statute, law, equity or otherwise, that the

  Receiver; the Receivership Estate; the Committee; the Claimants; and the Persons, entities and

  interests represented by those Parties ever had, now has, or hereafter can, shall, or may have,

  directly, representatively, derivatively, or in any other capacity, for, upon, arising from, relating

  to, or by reason of any matter, cause, or thing whatsoever, that, in full or in part, concerns, relates

  to, arises out of, or is in any manner connected with (i) the Stanford Entities; (ii) any certificate

  of deposit, depository account, or investment of any type with any one or more of the Stanford

  Entities; (iii) Greenberg’s relationship with any one or more of the Stanford Entities and/or any

  of their personnel; (iv) Greenberg’s provision of services to or for the benefit of or on behalf of

  the Stanford Entities; or (v) any matter that was asserted in, could have been asserted in, or



  FINAL BAR ORDER                                   7

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  relates to the subject matter of this action, the Litigation, or any proceeding concerning the

  Stanford Entities pending or commenced in any Forum.

         9.      Pursuant to the provisions of Paragraph 39 of the Settlement Agreement, as of the

  Settlement Effective Date, the Plaintiffs Released Parties shall be completely released, acquitted,

  and forever discharged from all Settled Claims by Greenberg.

         10.     Notwithstanding anything to the contrary in this Final Bar Order, the foregoing

  releases do not release the Parties’ rights and obligations under the Settlement or the Settlement

  Agreement or bar the Parties from enforcing or effectuating the terms of the Settlement or the

  Settlement Agreement.

         11.     The Court hereby permanently bars, restrains, and enjoins the Plaintiffs, the

  Investor Plaintiffs, the Claimants, the Interested Parties, and all other Persons or entities

  anywhere in the world, whether acting in concert with the foregoing or claiming by, through, or

  under the foregoing, or otherwise, all and individually, from directly, indirectly, or through a

  third party, instituting, reinstituting, intervening in, initiating, commencing, maintaining,

  continuing, filing, encouraging, soliciting, supporting, participating in, collaborating in, or

  otherwise prosecuting, against Greenberg or any of the Greenberg Released Parties, the

  Litigation, or any action, lawsuit, cause of action, claim, investigation, demand, levy, complaint,

  or proceeding of any nature in any Forum, including, without limitation, any court of first

  instance or any appellate court, whether individually, derivatively, on behalf of a class, as a

  member of a class, or in any other capacity whatsoever, that in any way relates to, is based upon,

  arises from, or is connected with the Stanford Entities; this case; the subject matter of this case;

  the Litigation; or any Settled Claim. The foregoing specifically includes any claim, however

  denominated, seeking contribution, indemnity, damages, or other remedy where the alleged

  FINAL BAR ORDER                                  8

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  injury to such Person, entity, or Interested Party, or the claim asserted by such Person, entity, or

  Interested Party, is based upon such Person’s, entity’s, or Interested Party’s liability to any

  Plaintiff, Claimant, or Interested Party arising out of, relating to, or based in whole or in part

  upon money owed, demanded, requested, offered, paid, agreed to be paid, or required to be paid

  to any Plaintiff, Claimant, Interested Party, or other Person or entity, whether pursuant to a

  demand, judgment, claim, agreement, settlement or otherwise. Notwithstanding the foregoing,

  there shall be no bar of any claims, including but not limited to the Settled Claims, that

  Greenberg may have against any Greenberg Released Party, including but not limited to

  Greenberg’s insurers, reinsurers, employees and agents. Further, the Parties retain the right to

  sue for alleged breaches of the Settlement Agreement.

         12.     Nothing in this Final Bar Order shall impair or affect or be construed to impair or

  affect in any way whatsoever, any right of any Person, entity, or Interested Party to: (a) claim a

  credit or offset, however determined or quantified, if and to the extent provided by any

  applicable statute, code, or rule of law, against any judgment amount, based upon the Settlement

  or payment of the Settlement Amount; (b) designate a “responsible third party” or “settling

  person” under Chapter 33 of the Texas Civil Practice and Remedies Code; or (c) take discovery

  under applicable rules in litigation; provided for the avoidance of doubt that nothing in this

  paragraph shall be interpreted to permit or authorize any action or claim seeking to impose any

  liability of any kind (including but not limited to liability for contribution, indemnification or

  otherwise) upon Greenberg or any other Greenberg Released Party.

         13.     Greenberg and the rest of the Greenberg Released Parties have no responsibility,

  obligation, or liability whatsoever with respect to the content of the Notice; the notice process;

  the Distribution Plan; the implementation of the Distribution Plan; the administration of the

  FINAL BAR ORDER                                  9

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  Settlement; the management, investment, distribution, allocation, or other administration or

  oversight of the Settlement Amount, any other funds paid or received in connection with the

  Settlement, or any portion thereof; the payment or withholding of Taxes; the determination,

  administration, calculation, review, or challenge of claims to the Settlement Amount, any portion

  of the Settlement Amount, or any other funds paid or received in connection with the Settlement

  or the Settlement Agreement; or any losses, attorneys’ fees, expenses, vendor payments, expert

  payments, or other costs incurred in connection with any of the foregoing matters. No appeal,

  challenge, decision, or other matter concerning any subject set forth in this paragraph shall

  operate to terminate or cancel the Settlement, the Settlement Agreement, or this Final Bar Order.

         14.     Nothing in this Final Bar Order or the Settlement Agreement and no aspect of the

  Settlement or negotiation or mediation thereof is or shall be construed to be an admission or

  concession of any violation of any statute or law, of any fault, liability, or wrongdoing, or of any

  infirmity in the claims or defenses of the Parties with regard to any of the complaints, claims,

  allegations, or defenses in the Litigation, or any other proceeding.

         15.     Greenberg is hereby ordered to deliver or cause to be delivered the Settlement

  Amount ($65 million) as described in Paragraph 24 of the Settlement Agreement. Further, the

  Parties are ordered to act in conformity with all other provisions of the Settlement Agreement.

         16.     Without in any way affecting the finality of this Final Bar Order, the Court retains

  continuing and exclusive jurisdiction over the Parties for purposes of, among other things, the

  administration, interpretation, consummation, and enforcement of the Settlement, the Settlement

  Agreement, the Scheduling Order, and this Final Bar Order, including, without limitation, the

  injunctions, bar orders, and releases herein, and to enter orders concerning implementation of the



  FINAL BAR ORDER                                  10

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  Settlement, the Settlement Agreement, the Distribution Plan, and any payment of attorneys’ fees

  and expenses to Plaintiffs’ counsel.

         17.     The Court expressly finds and determines, pursuant to Federal Rule of Civil

  Procedure 54(b), that there is no just reason for any delay in the entry of this Final Bar Order,

  which is both final and appealable, and immediate entry by the Clerk of the Court is expressly

  directed.

         18.     This Final Bar Order shall be served by counsel for the Plaintiffs, via email, first

  class mail or international delivery service, on any person or entity that filed an objection to

  approval of the Settlement, the Settlement Agreement, or this Final Bar Order.



  Signed on ____________________


                                                       __________________________________
                                                       DAVID C. GODBEY
                                                       UNITED STATES DISTRICT JUDGE




  FINAL BAR ORDER                                 11

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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION



  RALPH S. JANVEY, in his capacity as Court-
  appointed receiver for the Stanford Receivership
  Estate; the OFFICIAL STANFORD
  INVESTORS COMMITTEE; PAM REED;
  SAMUEL TROICE; and MICHOACAN TRUST;
  individually and on behalf of a class of all others
  similarly situated,
                                                           Civil Action No. 3:12-cv-04641-N

   v.

  GREENBERG TRAURIG, LLP; HUNTON &
  WILLIAMS, LLP; AND YOLANDA SUAREZ,




                      RULE 54(b) FINAL JUDGMENT AND BAR ORDER

         Before the Court is the Expedited Request for Entry of Scheduling Order and Motion to

  Approve Proposed Settlement with Greenberg, to Approve the Proposed Notice of Settlement

  with Greenberg, to Enter the Bar Order, to Enter the Rule 54(b) Final Judgment and Bar Order,

  and for Plaintiffs’ Attorneys’ Fees (the “Motion”) of Plaintiffs Ralph S. Janvey, in his capacity

  as the Court-appointed Receiver for the Stanford Receivership Estate (the “Receiver”) in SEC v.

  Stanford International Bank, Ltd., Civil Action No. 3:09-CV-0928-N (the “SEC Action”), and

  the Court-appointed Official Stanford Investors Committee (the “Committee”) (the Receiver and

  the Committee, collectively, the “Plaintiffs”).       (ECF No. ____.)   The Motion concerns a

  proposed settlement (the “Settlement”) among and between the Plaintiffs and Greenberg Traurig,

  P.A. and Greenberg Traurig, LLP (individually and collectively, “Greenberg”), two of the




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  defendants in this action. Plaintiffs and Greenberg are referred to together as the “Parties.” John

  J. Little, the Court-appointed Examiner (the “Examiner”) signed the Settlement Agreement 1 as

  chair of the Committee and as Examiner solely to evidence his support and approval of the

  Settlement and to confirm his obligation to post the Notice on his website, but is not otherwise

  individually a party to the Settlement or this action.

             Following notice and a hearing, and having considered the filings and heard the

  arguments of counsel, the Court hereby GRANTS the Motion.

  I.         INTRODUCTION

             The SEC Action and this case both arise from a series of events leading to the collapse of

  Stanford International Bank, Ltd. (“SIBL”). On February 16, 2009, this Court appointed Ralph S.

  Janvey to be the Receiver for SIBL and related parties (the “Stanford Entities”). (SEC Action,

  ECF No. 10). After years of diligent investigation, the Plaintiffs believe that they have identified

  claims against a number of third parties, including Greenberg, which Plaintiffs allege enabled the

  Stanford Ponzi scheme. In this action, the Plaintiffs assert claims against Greenberg and other

  defendants for negligence, aiding and abetting breaches of fiduciary duties, breaches of fiduciary

  duties, fraudulent transfer/unjust enrichment, aiding and abetting fraudulent transfers, negligent

  retention, aiding and abetting violations of the Texas Securities Act (“TSA”), aiding and abetting

  a fraudulent scheme, and civil conspiracy.2 Greenberg denies that it is liable for any of those

  claims and asserts numerous defenses to each of those claims.


  1
       The “Settlement Agreement” refers to the Settlement Agreement that is attached as Exhibit 1 of the Appendix to
       the Motion (ECF No. __).
  2
       In addition to Plaintiffs, claims were also originally brought by Samuel Troice, Michoacan Trust, Sandra Dorrell,
       and Pam Reed, who was substituted for Sandra Dorell, on behalf of themselves and a putative class. (Samuel
       Troice, Michoacan Trust, Sandra Dorrell, and Pam Reed, and the putative class they sought to represent, are
       referred to collectively herein as the “Investor Plaintiffs.”) By Orders dated December 17, 2014 (ECF No. 114),
       and February 4, 2015 (ECF No. 123), the Court granted in part and denied in part Greenberg’s motions to dismiss
       the Complaint, dismissing with prejudice (i) the Receiver’s and Committee’s claims for aiding and abetting

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         Multiparty settlement negotiations occurred in 2012, and additional settlement

  negotiations between Greenberg and Plaintiffs occurred in late 2018 and into 2019. In these

  negotiations, potential victims of the Stanford Ponzi scheme were well-represented.                              The

  Committee—which the Court appointed to “represent[] in this case and related matters” the

  “customers of SIBL who, as of February 16, 2009, had funds on deposit at SIBL and/or were

  holding certificates of deposit issued by SIBL (the ‘Stanford Investors’)” (ECF No. 1149)—the

  Receiver, and the Examiner—who the Court appointed to advocate on behalf of “investors in any

  financial products, accounts, vehicles or ventures sponsored, promoted or sold by any Defendant

  in this action” (ECF No. 322)—all participated in these extensive, arm’s-length negotiations. In

  August 2019, the Parties reached agreement resulting in the Settlement. For several weeks

  thereafter, the Parties continued efforts to negotiate and document the terms of the Settlement

  Agreement.

         Under the terms of the Settlement, Greenberg will pay $65 million (the “Settlement

  Amount”) to the Receivership Estate, which (less attorneys’ fees and expenses) will be

  distributed to Stanford Investors. In return, Greenberg seeks total peace with respect to all

  claims that have been, or could have been, asserted against Greenberg or any other of the

  Greenberg Released Parties, arising out of the events leading to these proceedings. Accordingly,

  the Settlement is conditioned on the Court’s approval and entry of this Final Bar Order enjoining


   fraudulent transfers; (ii) the Investor Plaintiffs’ TSA claims for aiding and abetting and civil conspiracy for the
   sale of unregistered securities and the sale of securities by an unregistered dealer arising from sales taking place
   prior to February 1, 2008; (iii) the Investor Plaintiffs’ TSA claims for aiding and abetting and civil conspiracy for
   the sale of securities through untruth or omission arising from sales taking place prior to February 1, 2006;
   dismissing without prejudice the Receiver and Committee’s claims for breach of fiduciary duty; and declining to
   dismiss the Plaintiffs’ other claims against Greenberg. By Order dated December 5, 2017 (ECF No. 251), the
   Court granted Greenberg’s Motion for Judgment on the Pleadings (ECF No. 203) as to the claims by the Investor
   Plaintiffs, and on April 17, 2019, the Fifth Circuit Court of Appeals affirmed this Order; the dismissal of the
   claims of the Investor Plaintiffs and affirmance are final and not subject to reopening or further proceedings. In
   addition, in the Second Amended Complaint, dated November 19, 2018, claims on behalf of the Committee were
   dropped.


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  those Interested Parties over whom the Court has authority to do so from asserting or prosecuting

  claims against Greenberg or any other of the Greenberg Released Parties.

         On October 17, 2019, the Plaintiffs filed the Motion. (ECF No. ____). The Court

  thereafter entered a Scheduling Order on ____ __, 2019 (ECF No. ____), which, inter alia,

  authorized the Receiver to provide notice of the Settlement, established a briefing schedule on

  the Motion, and set the date for a hearing. On ________________, the Court held the scheduled

  hearing. For the reasons set forth herein, the Court finds that the terms of the Settlement

  Agreement are adequate, fair, reasonable, and equitable, and that the Settlement should be and is

  hereby APPROVED. The Court further finds that entry of this Final Judgment and Bar Order is

  appropriate and necessary.

  II.    ORDER

         It is hereby ORDERED, ADJUDGED, AND DECREED as follows:

         1.      Terms used in this Final Judgment and Bar Order that are defined in the

  Settlement Agreement, unless expressly otherwise defined herein, have the same meaning as in

  the Settlement Agreement (which is deemed incorporated herein by reference).

         2.      The Court has “broad powers and wide discretion to determine the appropriate

  relief in [this] equity receivership,” including the authority to enter the Final Judgment and Bar

  Order. SEC v. Kaleta, 530 F. App’x 360, 362 (5th Cir. 2013) (internal quotations omitted).

  Moreover, the Court has jurisdiction over the subject matter of this action, and the Plaintiffs are

  proper parties to seek entry of this Final Judgment and Bar Order.

         3.      The Court finds that the methodology, form, content and dissemination of the

  Notice: (i) were implemented in accordance with the requirements of the Scheduling Order;

  (ii) constituted the best practicable notice; (iii) were reasonably calculated, under the



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  circumstances, to apprise all Interested Parties of the Settlement, the releases therein, and the

  injunctions provided for in this Final Judgment and Bar Order and in the Final Bar Order to be

  entered in the SEC Action; (iv) were reasonably calculated, under the circumstances, to apprise

  all Interested Parties of the right to object to the Settlement, this Final Judgment and Bar Order,

  and the Final Bar Order to be entered in the SEC Action, and to appear at the Final Approval

  Hearing; (v) were reasonable and constituted due, adequate, and sufficient notice; (vi) met all

  applicable requirements of law, including, without limitation, the Federal Rules of Civil

  Procedure, the United States Constitution (including Due Process), and the Rules of the Court;

  and (vii) provided to all Persons a full and fair opportunity to be heard on these matters.

         4.      The Court finds that the Settlement, including, without limitation, the Settlement

  Amount, was reached following an extensive investigation of the facts and resulted from

  vigorous, good-faith, arm’s-length, mediated negotiations involving experienced and competent

  counsel. The Court further finds that (i) significant issues exist as to the merits and value of the

  claims asserted against Greenberg by Plaintiffs and by others whose potential claims are

  foreclosed by this Final Judgment and Bar Order; (ii) such claims contain complex and novel

  issues of law and fact that would require a substantial amount of time and expense to litigate,

  with uncertainty regarding whether such claims would be successful; (iii) a significant risk exists

  that future litigation costs would dissipate Receivership Assets and that Plaintiffs and other

  persons who have submitted claims to the Receiver (“Claimants”) may not ultimately prevail on

  their claims; (iv) Plaintiffs and Claimants who have filed Claims with the Receiver will receive

  partial satisfaction of their claims from the Settlement Amount being paid pursuant to the

  Settlement; and (v) Greenberg would not have agreed to the terms of the Settlement in the

  absence of this Final Judgment and Bar Order unless it was assured of “total peace” with respect



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  to all claims that have been, or could be, asserted by persons over whom the Court has authority

  arising from Greenberg’s relationship with the Stanford Entities. See SEC v. Kaleta, No. 4:09-

  3674, 2012 WL 401069, at *4 (S.D. Tex. Feb. 7, 2012), aff’d, 530 F. App’x 360 (5th Cir. 2013)

  (approving these factors for consideration in evaluating whether a settlement and bar order are

  sufficient, fair, and necessary). The injunction against such claims as set forth herein is therefore

  a necessary and appropriate order ancillary to the relief obtained for victims of the Stanford

  Ponzi scheme pursuant to the Settlement. See Kaleta, 530 F. App’x at 362 (affirming a bar order

  and injunction against investor claims as “ancillary relief’ to a settlement in an SEC receivership

  proceeding). After careful consideration of the record and applicable law, the Court concludes

  that the Settlement is the best option for maximizing the net amount recovered from Greenberg

  for the Receivership Estate, Plaintiffs, and the Claimants.

         5.      Pursuant to the Settlement Agreement and upon motion by the Receiver in the

  SEC Action, this Court will approve a Distribution Plan that will fairly and reasonably distribute

  the net proceeds of the Settlement to Stanford Investors who have Claims approved by the

  Receiver.   The Court finds that the Receiver’s claims process and the Distribution Plan

  contemplated in the Settlement Agreement have been designed to ensure that all Stanford

  Investors have received an opportunity to pursue their Claims through the Receiver’s claims

  process previously approved by the Court (SEC Action, ECF No. 1584).

         6.      The Court further finds that the Parties and their counsel have at all times

  complied with the requirements of Rule 11 of the Federal Rules of Civil Procedure.

         7.      Accordingly, the Court finds that the Settlement is, in all respects, fair,

  reasonable, and adequate, and in the best interests of all Persons claiming an interest in, having

  authority over, or asserting a claim against Greenberg, the Stanford Entities, or the Receivership



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  Estate, including but not limited to the Plaintiffs, Investor Plaintiffs, and the Interested Parties.

  The Court also finds that this Final Judgment and Bar Order is a necessary component to achieve

  the Settlement. The Settlement, the terms of which are set forth in the Settlement Agreement, is

  hereby fully and finally approved. The Parties are directed to implement and consummate the

  Settlement in accordance with the terms and provisions of the Settlement Agreement and this

  Final Judgment and Bar Order.

         8.      Pursuant to the provisions of Paragraph 38 of the Settlement Agreement, as of the

  Settlement Effective Date, Greenberg and the rest of the Greenberg Released Parties shall be

  completely released, acquitted, and forever discharged from any action, cause of action, suit,

  liability, claim, right of action, or demand whatsoever, whether or not currently asserted, known,

  suspected, existing, or discoverable, and whether based on federal law, state law, foreign law,

  common law, or otherwise, and whether based on contract, tort, statute, law, equity or otherwise,

  that the Receiver; the Receivership Estate; the Committee; the Claimants; and the Persons,

  entities and interests represented by those Parties ever had, now has, or hereafter can, shall, or

  may have, directly, representatively, derivatively, or in any other capacity, for, upon, arising

  from, relating to, or by reason of any matter, cause, or thing whatsoever, that, in full or in part,

  concerns, relates to, arises out of, or is in any manner connected with (i) the Stanford Entities;

  (ii) any certificate of deposit, depository account, or investment of any type with any one or more

  of the Stanford Entities; (iii) Greenberg’s relationship with any one or more of the Stanford

  Entities; (iv) Greenberg’s provision of services to or for the benefit of or on behalf of the

  Stanford Entities; or (v) any matter that was asserted in, could have been asserted in, or relates to

  the subject matter of this action, the SEC Action, or any proceeding concerning the Stanford

  Entities pending or commenced in any Forum.



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         9.      Pursuant to the provisions of Paragraph 39 of the Settlement Agreement, as of the

  Settlement Effective Date, the Plaintiffs Released Parties shall be completely released, acquitted,

  and forever discharged from all Settled Claims by Greenberg.

         10.     Notwithstanding anything to the contrary in this Final Judgment and Bar Order,

  the foregoing releases do not release the Parties’ rights and obligations under the Settlement or

  the Settlement Agreement or bar the Parties from enforcing or effectuating the terms of the

  Settlement or the Settlement Agreement. Further, the foregoing releases do not bar or release

  any claims, including but not limited to the Settled Claims, that Greenberg may have against any

  Greenberg Released Party, including but not limited to Greenberg’s insurers, reinsurers,

  employees, and agents.

         11.     The Court hereby permanently bars, restrains, and enjoins the Receiver, the

  Committee, the Investor Plaintiffs, the Claimants, the Interested Parties, and all other Persons or

  entities anywhere in the world, whether acting in concert with the foregoing or claiming by,

  through, or under the foregoing, or otherwise, all and individually, from directly, indirectly, or

  through a third party, instituting, reinstituting, intervening in, initiating, commencing,

  maintaining,   continuing,    filing,   encouraging,   soliciting,   supporting,   participating   in,

  collaborating in, or otherwise prosecuting, against Greenberg or any of the Greenberg Released

  Parties, this action, or any action, lawsuit, cause of action, claim, investigation, demand, levy,

  complaint, or proceeding of any nature in any Forum, including, without limitation, any court of

  first instance or any appellate court, whether individually, derivatively, on behalf of a class, as a

  member of a class, or in any other capacity whatsoever, that in any way relates to, is based upon,

  arises from, or is connected with the Stanford Entities; this case; the SEC Action; the subject

  matter of this case or the SEC Action; or any Settled Claim. The foregoing specifically includes



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  any claim, however denominated, seeking contribution, indemnity, damages, or other remedy

  where the alleged injury to such Person, entity, or Interested Party, or the claim asserted by such

  Person, entity, or Interested Party, is based upon such Person’s, entity’s, or Interested Party’s

  liability to any Plaintiff, Claimant, or Interested Party arising out of, relating to, or based in

  whole or in part upon money owed, demanded, requested, offered, paid, agreed to be paid, or

  required to be paid to any Plaintiff, Claimant, Interested Party, or other Person or entity, whether

  pursuant to a demand, judgment, claim, agreement, settlement or otherwise. Notwithstanding the

  foregoing, there shall be no bar of any claims, including but not limited to the Settled Claims,

  that Greenberg may have against any Greenberg Released Party, including but not limited to

  Greenberg’s insurers, reinsurers, employees and agents. Further, the Parties retain the right to

  sue for alleged breaches of the Settlement Agreement.

          12.    The releases and the covenants not to sue set forth in the Settlement Agreement,

  and the releases, bars, injunctions, and restraints set forth in this Final Judgment and Bar Order,

  do not limit in any way the evidence that Plaintiffs may offer against the remaining defendants in

  this action.

          13.    Nothing in this Final Judgment and Bar Order shall impair or affect or be

  construed to impair or affect in any way whatsoever, any right of any Person, entity, or Interested

  Party to: (a) claim a credit or offset, however determined or quantified, if and to the extent

  provided by any applicable statute, code, or rule of law, against any judgment amount, based

  upon the Settlement or payment of the Settlement Amount; (b) designate a “responsible third

  party” or “settling person” under Chapter 33 of the Texas Civil Practice and Remedies Code; or

  (c) take discovery under applicable rules in litigation; provided for the avoidance of doubt that

  nothing in this paragraph shall be interpreted to permit or authorize any action or claim seeking



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  to impose any liability of any kind (including but not limited to liability for contribution,

  indemnification or otherwise) upon Greenberg or any other Greenberg Released Party.

         14.       Greenberg and the rest of the Greenberg Released Parties have no responsibility,

  obligation, or liability whatsoever with respect to the content of the Notice; the notice process;

  the Distribution Plan; the implementation of the Distribution Plan; the administration of the

  Settlement; the management, investment, distribution, allocation, or other administration or

  oversight of the Settlement Amount, any other funds paid or received in connection with the

  Settlement, or any portion thereof; the payment or withholding of Taxes; the determination,

  administration, calculation, review, or challenge of claims to the Settlement Amount, any portion

  of the Settlement Amount, or any other funds paid or received in connection with the Settlement

  or the Settlement Agreement; or any losses, attorneys’ fees, expenses, vendor payments, expert

  payments, or other costs incurred in connection with any of the foregoing matters. No appeal,

  challenge, decision, or other matter concerning any subject set forth in this paragraph shall

  operate to terminate or cancel the Settlement, the Settlement Agreement, or this Final Judgment

  and Bar Order.

         15.       Nothing in this Final Judgment and Bar Order or the Settlement Agreement and

  no aspect of the Settlement or negotiation or mediation thereof is or shall be construed to be an

  admission or concession of any violation of any statute or law, of any fault, liability, or

  wrongdoing, or of any infirmity in the claims or defenses of the Parties with regard to any of the

  complaints, claims, allegations, or defenses in this action, or any other proceeding.

         16.       Greenberg is hereby ordered to deliver or cause to be delivered the Settlement

  Amount ($65 million) as described in Paragraph 24 of the Settlement Agreement. Further, the

  Parties are ordered to act in conformity with all other provisions of the Settlement Agreement.



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          17.    Without in any way affecting the finality of this Final Judgment and Bar Order,

  the Court retains continuing and exclusive jurisdiction over the Parties for purposes of, among

  other   things, the administration, interpretation, consummation, and enforcement of the

  Settlement, the Settlement Agreement, the Scheduling Order, and this Final Judgment and Bar

  Order, including, without limitation, the injunctions, bar orders, and releases herein, and to enter

  orders concerning implementation of the Settlement, the Settlement Agreement, the Distribution

  Plan, and any payment of attorneys’ fees and expenses to Plaintiffs’ counsel.

          18.    The Court expressly finds and determines, pursuant to Federal Rule of Civil

  Procedure 54(b), that there is no just reason for any delay in the entry of this Final Judgment and

  Bar Order as to Greenberg, which is both final and appealable as to Greenberg, and immediate

  entry of final judgment as to Greenberg by the Clerk of the Court is expressly directed.

          19.    This Final Judgment and Bar Order shall be served by counsel for the Plaintiffs,

  via email, first class mail or international delivery service, on any person or entity that filed an

  objection to approval of the Settlement, the Settlement Agreement, or this Final Judgment and

  Bar Order.

          20.    All relief as to Greenberg not expressly granted herein, other than Plaintiffs’

  request for approval of Plaintiffs’ attorneys’ fees, which will be addressed by a separate order, is

  denied. This is a final Rule 54(b) judgment. The Clerk of the Court is directed to enter

  Judgment as to Greenberg in conformity herewith.



  Signed on ______________________

                                                       ________________________________
                                                       DAVID C. GODBEY
                                                       UNITED STATES DISTRICT JUDGE



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                                        Receivership Entities


  16NE Huntington, LLC                             International Fixed Income Stanford Fund, Ltd.

  20/20 Ltd.                                       The Island Club, LLC

  Antigua Athletic Club Limited                    The Islands Club, Ltd.

  The Antigua Sun Limited                          JS Development, LLC

  Apartment Household, Inc.                        Maiden Island Holdings Ltd.

  Asian Village Antigua Limited                    Miller Golf Company, L.L.C.

  Bank of Antigua Limited                          Parque Cristal Ltd.

  Boardwalk Revitalization, LLC                    Pelican Island Properties Limited

  Buckingham Investments A.V.V.                    Pershore Investments S.A.

  Caribbean Aircraft Leasing (BVI) Limited         Polygon Commodities A.V.V.

  Caribbean Airlines Services Limited              Porpoise Industries Limited

  Caribbean Airlines Services, Inc.                Productos y Servicios Stanford, C.A.

  Caribbean Star Airlines Holdings Limited         R. Allen Stanford, LLC

  Caribbean Star Airlines Limited                  Robust Eagle Limited

  Caribbean Sun Airlines Holdings, Inc.            Sea Eagle Limited

  Casuarina 20 LLC                                 Sea Hare Limited

  Christiansted Downtown Holdings, LLC             SFG Majestic Holdings, LLC

  Crayford Limited                                 SG Ltd.

  Cuckfield Investments Limited                    SGV Asesores C.A.

  Datcom Resources, Inc.                           SGV Ltd.

  Devinhouse, Ltd.                                 Stanford 20*20, LLC

  Deygart Holdings Limited                         Stanford 20/20 Inc.

  Foreign Corporate Holdings Limited               Stanford Acquisition Corporation



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  Guardian International Investment Services       Stanford Aerospace Limited
  No. One, Inc.

  Guardian International Investment Services       Stanford Agency, Ltd. [Louisiana]i
  No. Three, Inc.

  Guardian International Investment Services       Stanford Agency, Inc. [Texas]
  No. Two, Inc.

  Guardian One, Ltd.                               Stanford Agresiva S.A. de C.V.

  Guardian Three, Ltd.                             Stanford Aircraft, LLC

  Guardian Two, Ltd.                               Stanford American Samoa Holding Limited

  Guiana Island Holdings Limited                   Stanford Aviation 5555, LLC

  Harbor Key Corp.                                 Stanford Aviation II, LLC

  Harbor Key Corp. II                              Stanford Aviation III, LLC

  Idea Advertising Group, Inc.                     Stanford Aviation Limited

  Stanford Bank Holdings Limited                   Stanford Aviation LLC

  Stanford Bank, S.A. Banco Comercial              Stanford Bank (Panama), S.A.ii

  Stanford Capital Management, LLC                 Stanford Galleria Buildings Management, LLC

  Stanford Caribbean Investments, LLC              Stanford Gallows Bay Holdings, LLC

  Stanford Caribbean Regional Management           Stanford Global Advisory, LLC
  Holdings, LLC

  Stanford Caribbean, LLC                          Stanford Group (Antigua) Limited

  Stanford Casa de Valores, S.A.                   Stanford Group (Suisse) AG

  Stanford Cobertura, S.A. de C.V.                 Stanford Group Aruba, N.V.

  Stanford Coins & Bullion, Inc.                   Stanford Group Bolivia

  The Stanford Condominium Owners’                 Stanford Group Casa de Valores, S.A.
  Association, Inc.

  Stanford Corporate Holdings International, Inc. Stanford Group Company

  Stanford Corporate Services (BVI) Limited        Stanford Group Company Limited


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  Stanford Corporate Services (Venezuela), C.A.       Stanford Group Holdings, Inc.

  Stanford Corporate Services, Inc.                   Stanford Group Mexico, S.A. de C.V.

  Stanford Corporate Ventures (BVI) Limited           Stanford Group Peru, S.A., Sociedad Agente
                                                      de Bolsa

  Stanford Corporate Ventures, LLC                    Stanford Group Venezuela Asesores de
                                                      Inversion, C.A.

  Stanford Crecimiento Balanceado, S.A. de            Stanford Group Venezuela, C.A.
  C.V.

  Stanford Crecimiento, S.A. de C.V.                  Stanford Holdings Venezuela, C.A.

  Stanford Development Company (Grenada)              Stanford International Bank Holdings Limited
  Ltd.

  Stanford Development Company Limited                Stanford International Bank Limited

  Stanford Development Corporation                    Stanford International Holdings (Panama) S.A.

  Stanford Eagle, LLC                                 Stanford International Management Ltd.

  Stanford Family Office, LLC                         Stanford International Resort Holdings, LLC

  The Stanford Financial Group Building, Inc.         Stanford Investment Advisory Services, Inc.

  Stanford Financial Group Company                    Stanford Leasing Company, Inc.

  Stanford Financial Group Global Management,         Stanford Management Holdings, Ltd.
  LLC

  Stanford Financial Group (Holdings) Limited         Stanford Real Estate Acquisition, LLC

  Stanford Financial Group Limited                    Stanford S.A. Comisionista de Bolsa

  Stanford Financial Group Ltd.                       Stanford Services Ecuador, S.A.

  Stanford Financial Partners Advisors, LLC           Stanford South Shore Holdings, LLC

  Stanford Financial Partners Holdings, LLC           Stanford Sports & Entertainment Holdings,
                                                      LLC

  Stanford Financial Partners Securities, LLC         Stanford St. Croix Marina Operations, LLC

  Stanford Financial Partners, Inc.                   Stanford St. Croix Resort Holdings, LLC



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  Stanford Fondos, S.A. de C.V.                                     Stanford St. Croix Security, LLC

  The Stanford Galleria Buildings, LP                               Stanford Trust Company

  Stanford Trust Holdings Limited                                   Stanford Trust Company Administradora de
                                                                    Fondos y Fideicomisos S.A.

  Stanford Venture Capital Holdings, Inc.                           Stanford Trust Company Limited

  The Sticky Wicket Limited                                         Torre Oeste Ltd.

  Sun Printing & Publishing Limited                                 Torre Senza Nome Venezuela, C.A.

  Sun Printing Limited                                              Trail Partners, LLC

  Stanford Puerto Rico, Inc                                         Two Islands One Club (Grenada) Ltd.

                                                                    Two Islands One Club Holdings Ltd.
  Stanford Latin America LLC

  Stanford Casa de Valores Panama                                   Stanford Financial Group Services, LLC

  Stanford Group Venezuela a/k/a Stanford                           Stanford Group Columbia a/k/a Stanford Bolsa
  Group Venezuela C.A.                                              Y Banca

  Stanford Bank Venezuela                                           Guardian International Bank Ltd.

  Stanford Trust Company Limited d/b/a                              Guardian Trust Company
  Stanford Fiduciary Investment Services
                                                                    Guardian Development Corporation
  Stanford Advisory Board
                                                                    Guardian International Investment Services
  Two Islands One Club (Antigua) Ltd.
                                                                    Casuarina Holdings, Inc.
  Stanford Caribbean Investment Partners, LP
                                                                    Stanford Caribbean Investment Fund
  Stanford Caribbean Advisors
                                                                    Stanford Caribbean Investment Fund I, LP
  Stanford Group Panama a/k/a Stanford Bank
  Panama




  i
   Locations in brackets are included to differentiate between legal entities with the same name but different locations
  or other identifying information.
  ii
       Locations in parentheses are included in the legal name of an entity or other identifying information.

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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


   SECURITIES AND EXCHANGE
   COMMISSION,

                                      Plaintiff,
                                                       Civil Action No. 3:09-cv-00298-N
   v.

   STANFORD INTERNATIONAL BANK, LTD,
   et al.,
                                      Defendants.



   RALPH S. JANVEY, in his capacity as Court-
   appointed receiver for the Stanford Receivership
   Estate; the OFFICIAL STANFORD
   INVESTORS COMMITTEE; PAM REED;
   SAMUEL TROICE; and MICHOACAN
   TRUST; individually and on behalf of a class of
   all others similarly situated,
                                                       Civil Action No. 3:12-cv-04641-N
                                     Plaintiffs,

    v.

   GREENBERG TRAURIG, LLP; HUNTON &
   WILLIAMS, LLP; AND YOLANDA SUAREZ,
                                     Defendants.



                                     SCHEDULING ORDER

         This matter is before the Court on the Expedited Request for Entry of Scheduling Order

  and Motion to Approve Proposed Settlement with Greenberg, to Approve the Proposed Notice of

  Settlement with Greenberg, to Enter the Bar Order, to Enter the Rule 54(b) Final Judgment and

  Bar Order, and for Plaintiffs’ Attorneys’ Fees (the “Motion”) of Ralph S. Janvey (the


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  “Receiver”), as Receiver for the Receivership Estate in SEC v. Stanford International Bank, Ltd.,

  No. 3:09-CV-0298-N (N.D. Tex.) (the “SEC Action”), the Official Stanford Investors Committee

  (the “Committee”), as a party to the SEC Action and, along with the Receiver, as a plaintiff in

  Janvey v. Greenberg Traurig LLP et al., No. 3:12-cv-04641-N (N.D. Tex.) (the “Litigation”) (the

  Receiver and the Committee, collectively, the “Plaintiffs”). The Motion concerns a proposed

  settlement (the “Settlement”) among and between, on the one hand, the Receiver and the Court-

  appointed Examiner, John J. Little (the “Examiner”);1 and, on the other hand, Greenberg Traurig,

  P.A., and Greenberg Traurig, LLP (individually and collectively, “Greenberg”), as defendants in

  the Litigation. Capitalized terms not otherwise defined in this order shall have the meaning

  assigned to them in the settlement agreement attached to the Motion (the “Settlement

  Agreement”).

           In the Motion, the Plaintiffs seek the Court’s approval of the terms of the Settlement,

  including entry of a bar order in the SEC Action (the “Bar Order”) and a final judgment and bar

  order in the Litigation (the “Judgment and Bar Order”). After reviewing the terms of the

  Settlement and considering the arguments presented in the Motion, the Court preliminarily

  approves the Settlement as adequate, fair, reasonable, and equitable. Accordingly, the Court

  enters this scheduling order to: (i) provide for notice of the terms of the Settlement, including the

  proposed Bar Order in the SEC Action and the proposed Judgment and Bar Order in the

  Litigation; (ii) set the deadline for filing objections to the Settlement, the Bar Order, the

  Judgment and Bar Order, or Plaintiffs’ request for approval of Plaintiffs’ attorneys’ fees; (iii) set

  the deadline for responding to any objection so filed; and (iv) set the date of the final approval


  1
    The Examiner executed the Settlement Agreement to indicate his approval of the terms of the Settlement and to
  confirm his obligation to post Notice on his website, as required herein, but is not otherwise individually a party to
  the Settlement Agreement, the SEC Action, or the Litigation.

                                                             2
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  hearing regarding the Settlement, the Bar Order in the SEC Action, the Judgment and Bar Order

  in the Litigation, and Plaintiffs’ request for approval of Plaintiffs’ attorneys’ fees (the “Final

  Approval Hearing”), as follows:

         1.      Preliminary Findings on Potential Approval of the Settlement: Based upon the

  Court’s review of the terms of the Settlement Agreement, the arguments presented in the Motion,

  and the Motion’s accompanying appendices and exhibits, the Court preliminarily finds that the

  Settlement is fair, reasonable, and equitable; has no obvious deficiencies; and is the product of

  serious, informed, good-faith, and arm’s-length negotiations. The Court, however, reserves a

  final ruling with respect to the terms of the Settlement until after the Final Approval Hearing

  referenced below in Paragraph 2.

         2.      Final Approval Hearing: The Final Approval Hearing will be held before the

  Honorable David C. Godbey of the United States District Court for the Northern District of

  Texas, United States Courthouse, 1100 Commerce Street, Dallas, Texas 75242, in Courtroom

  1505, at __:__ _.m. on _________, which is a date at least ninety (90) calendar days after entry

  of this Scheduling Order. The purposes of the Final Approval Hearing will be to: (i) determine

  whether the terms of the Settlement should be approved by the Court; (ii) determine whether the

  Bar Order attached as Exhibit B to the Settlement Agreement should be entered by the Court in

  the SEC Action; (iii) determine whether the Judgment and Bar Order attached as Exhibit C to the

  Settlement Agreement should be entered by the Court in the Litigation; (iv) rule upon any

  objections to the Settlement, Bar Order, or the Judgment and Bar Order; (v) rule upon Plaintiffs’

  request for approval of Plaintiffs’ attorneys’ fees; and (vi) rule upon such other matters as the

  Court may deem appropriate.




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         3.      Notice: The Court approves the form of Notice attached as Exhibit A to the

  Settlement Agreement and finds that the methodology, distribution, and dissemination of Notice

  described in the Motion: (i) constitute the best practicable notice; (ii) are reasonably calculated,

  under the circumstances, to apprise all Interested Parties of the Settlement, the releases therein,

  and the injunctions provided for in the Bar Order and Judgment and Bar Order; (iii) are

  reasonably calculated, under the circumstances, to apprise all Interested Parties of the right to

  object to the Settlement, the Bar Order, or the Judgment and Bar Order, and to appear at the

  Final Approval Hearing; (iv) constitute due, adequate, and sufficient notice; (v) meet all

  requirements of applicable law, including the Federal Rules of Civil Procedure, the United States

  Constitution (including Due Process), and the Rules of the Court; and (vi) will provide to all

  Persons a full and fair opportunity to be heard on these matters. The Court further approves the

  form of the publication Notice attached as Exhibit F to the Settlement Agreement. Therefore:

                 a.      The Receiver is hereby directed, no later than twenty-one (21) calendar

  days after entry of this Scheduling Order, to cause the Notice in substantially the same form

  attached as Exhibit A to the Settlement Agreement to be sent via electronic mail, first class mail,

  or international delivery service to all Interested Parties; to be sent via electronic service to all

  counsel of record for any Person who is, at the time of Notice, a party in any case included in In

  re Stanford Entities Securities Litigation, MDL No. 2099 (N.D. Tex.) (the “MDL”), the SEC

  Action, or the Litigation, who are deemed to have consented to electronic service through the

  Court’s CM/ECF System under Local Rule CV-5.1(d); and to be sent via facsimile transmission

  and/or first class mail to any other counsel of record for any other Person who is, at the time of

  service, a party in any case included in the MDL, the SEC Action, or the Litigation.




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                 b.     The Receiver is hereby directed, no later than twenty-one (21) calendar

  days after entry of this Scheduling Order, to cause the notice in substantially the same form

  attached as Exhibit F to the Settlement Agreement to be published once in the national edition of

  The Wall Street Journal and once in the international edition of The New York Times.

                 c.     The Receiver is hereby directed, no later than ten (10) calendar days after

  entry of this Scheduling Order, to cause the Settlement Agreement, the Motion, this Scheduling

  Order, the Notice, and all exhibits and appendices attached to these documents, to be posted on

  the Receiver’s website (http://stanfordfinancialreceivership.com).    The Examiner is hereby

  directed, no later than ten (10) calendar days after entry of this Scheduling Order, to cause the

  Settlement Agreement, the Motion, this Scheduling Order, the Notice, and all exhibits and

  appendices attached to these documents, to be posted on the Examiner’s website (http://lpf-

  law.com/examiner-stanford-financial-group).

                 d.     The Receiver is hereby directed promptly to provide the Settlement

  Agreement, the Motion, this Scheduling Order, the Notice, and all exhibits and appendices

  attached to these documents, to any Person who requests such documents via email to Nadia

  Ramon at legalassistant@casnlaw.com, or via telephone by calling (210) 630-4200.             The

  Receiver may provide such materials in the form and manner that the Receiver deems most

  appropriate under the circumstances of the request.

                 e.     No less than ten (10) days before the Final Approval Hearing, the

  Receiver shall cause to be filed with the Clerk of this Court written evidence of compliance with

  subparts (a) through (d) of this Paragraph, which may be in the form of an affidavit or

  declaration.




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         4.      Objections and Appearances at the Final Approval Hearing: Any Person who

  wishes to object to the terms of the Settlement, the Bar Order, the Judgment and Bar Order, or

  Plaintiffs’ request for approval of Plaintiffs’ attorneys’ fees, or who wishes to appear at the Final

  Approval Hearing, must do so by filing an objection, in writing, with the Court in the SEC

  Action (3:09-CV-0298-N), by ECF or by mailing the objection to the Clerk of the United States

  District Court for the Northern District of Texas, 1100 Commerce Street, Dallas, Texas 75242,

  no later than [insert date of 21st day before Final Approval Hearing] . All objections filed with

  the Court must:

                 a.      contain the name, address, telephone number, and (if applicable) an email

  address of the Person filing the objection;

                 b.      contain the name, address, telephone number, and email address of any

  attorney representing the Person filing the objection;

                 c.      be signed by the Person filing the objection, or his or her attorney;

                 d.      state, in detail, the basis for any objection;

                 e.      attach any document the Court should consider in ruling on the Settlement,

  the Bar Order, the Judgment and Bar Order, or Plaintiffs’ request for approval of Plaintiffs’

  attorneys’ fees; and

                 f.      if the Person filing the objection wishes to appear at the Final Approval

  Hearing, make a request to do so.

         No Person will be permitted to appear at the Final Approval Hearing without filing a

  written objection and request to appear at the Final Approval Hearing as set forth in subparts (a)

  through (f) of this Paragraph. Copies of any objections filed must be served by ECF, or by email

  or first class mail, upon each of the following:


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             Stuart H. Singer
             Boies Schiller Flexner LLP
             401 East Las Olas Blvd.
             Suite 1200
             Fort Lauderdale, FL 33304
             Telephone: (954) 356-0011
             Facsimile: (954) 356-0022
             E-mail: ssinger@bsfllp.com

             and

             Murray Fogler
             Fogler, Brar, Ford, O’Neil & Gray LLP
             909 Fannin, Suite 1640
             Houston, Texas 77010
             Telephone: (713) 481-1010
             Facsimile: (713) 574-3224
             E-mail: mfogler@fbfog.com

             and

             Edward C. Snyder
             Castillo Snyder, PC
             One Riverwalk Place
             700 N. St. Mary’s, Suite 405
             San Antonio, Texas 78205
             Telephone: 210-630-4200
             Fax: 210-630-4210
             E-mail: esnyder@casnlaw.com

             and

             Douglas J. Buncher
             Neligan Foley LLP
             325 N. St. Paul, Suite 3600
             Dallas, Texas 75201
             Telephone: 214-840-5320
             Fax: 214-840-5301
             E-mail: dbuncher@neliganlaw.com

             and

             Judith R. Blakeway
             Clark Hill Strasburger
             2301 Broadway


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                 San Antonio, Texas 78215
                 Telephone:     (210) 250-6004
                 Facsimile:     (210) 258-2706
                 E-mail: judith.blakeway@clark hillstrasburger.com


                 and

                 John J. Little
                 Little Pedersen Fankhauser LLP
                 901 Main Street, Suite 4110
                 Dallas, Texas 75202
                 Telephone: 214.573.2307
                 Fax: 214.573.2323
                 E-mail: jlittle@lpf-law.com

                 and

                 Ralph Janvey
                 2100 Ross Ave
                 Suite 2600
                 Dallas, TX 75201
                 E-mail: rjanvey@kjllp.com

                 and

                 Kevin Sadler
                 Baker Botts
                 1001 Page Mill Road
                 Building One, Suite 200
                 Palo Alto, California 94304-1007
                 E-mail: kevin.sadler@bakerbotts.com

         Any Person filing an objection shall be deemed to have submitted to the jurisdiction of

  this Court for all purposes of that objection, the Settlement, the Bar Order, and the Judgment and

  Bar Order. Potential objectors who do not present opposition by the time and in the manner set

  forth above shall be deemed to have waived the right to object (including any right to appeal)

  and to appear at the Final Approval Hearing and shall be forever barred from raising such




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  objections in this action or any other action or proceeding. Persons do not need to appear at the

  Final Approval Hearing or take any other action to indicate their approval.

         5.        Responses to Objections:     Any Party to the Settlement may respond to an

  objection filed pursuant to Paragraph 4 by filing a response in the SEC Action no later than

  [insert date of 7th day before the Final Approval Hearing]. To the extent any Person filing an

  objection cannot be served by action of the Court’s CM/ECF system, a response must be served

  to the email and/or mailing address provided by that Person.

         6.        Adjustments Concerning Hearing and Deadlines: The date, time, and place for

  the Final Approval Hearing, and the deadlines and date requirements in this Scheduling Order,

  shall be subject to adjournment or change by this Court without further notice other than that

  which may be posted by means of ECF in the MDL, the SEC Action, and the Litigation.

         7.        Retention of Jurisdiction:   The Court shall retain jurisdiction to consider all

  further applications arising out of or connected with the proposed Settlement.

         8.        Entry of Injunction: If the Settlement is approved by the Court, the Court will

  enter the Bar Order in the SEC Action and the Judgment and Bar Order in the Litigation. If

  entered, each order will permanently enjoin, among others, Interested Parties, including Stanford

  Investors and Claimants, from bringing, encouraging, assisting, continuing, or prosecuting,

  against Greenberg or any of the Greenberg Released Parties, the Litigation, or any other action,

  lawsuit, cause of action, claim, investigation, demand, complaint, or proceeding of any nature,

  including, without limitation, contribution or indemnity claims, arising from or relating to a

  Settled Claim.

         9.        Stay of Proceedings: The Litigation is hereby stayed as to Greenberg only, except

  to the extent necessary to give effect to the Settlement.


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         10.     Use of Order: Under no circumstances shall this Scheduling Order be construed,

  deemed, or used as an admission, concession, or declaration by or against Greenberg of any

  fault, wrongdoing, breach or liability. Nor shall the Order be construed, deemed, or used as an

  admission, concession, or declaration by or against Plaintiffs that their claims lack merit or that

  the relief requested is inappropriate, improper, or unavailable, or as a waiver by any party of any

  defenses or claims he or she may have. Neither this Scheduling Order, nor the proposed

  Settlement Agreement, or any other settlement document, shall be filed, offered, received in

  evidence, or otherwise used in these or any other actions or proceedings or in any arbitration,

  except to give effect to or enforce the Settlement or the terms of this Scheduling Order.

         11.     Entry of This Order: This Scheduling Order shall be entered separately on the

  dockets both in the SEC Action and in the Litigation.

         IT IS SO ORDERED.


  Signed on ___________, 2019

                                               ________________________________
                                               DAVID C. GODBEY
                                               UNITED STATES DISTRICT JUDGE




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                                        Publication Notice

  To be published once in the national edition of The Wall Street Journal and once in the

  international edition of The New York Times:

         PLEASE TAKE NOTICE that the Court-appointed Receiver for Stanford
         International Bank, Ltd. (“SIB”) and related entities (“Stanford Entities”), and
         certain Plaintiffs, have reached an agreement to settle all claims asserted or that
         could have been asserted against Greenberg Traurig, P.A. and Greenberg Traurig,
         LLP relating to or in any way concerning SIB (the “Settlement Agreement”). As
         part of the Settlement Agreement, the Receiver and Plaintiffs have requested
         orders that permanently enjoin, among others, all Interested Parties, including
         Stanford Investors (i.e., customers of SIB, who, as of February 16, 2009, had
         funds on deposit at SIB and/or were holding certificates of deposit issued by SIB),
         from bringing any legal proceeding or cause of action arising from or relating to
         the Stanford Entities against Greenberg Traurig, P.A., Greenberg Traurig, LLP, or
         the Greenberg Released Parties.

         Complete copies of the Settlement Agreement, the proposed bar orders, and
         settlement documents are available on the Receiver’s website
         http://www.stanfordfinancialreceivership.com. All capitalized terms not defined
         in this Notice are defined in the Settlement Agreement.

         Interested Parties may file written objections with the United States District Court
         for the Northern District of Texas on or before [insert date of 21st day before
         Final Approval Hearing].




                                                                                       EXHIBIT F
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                                          EXHIBIT G

  CASES AGAINST FORMER OFFICERS/DIRECTORS/EMPLOYEES

  1.    Janvey v. Alguire, et al., No. 3:09-cv-0724-N (N.D. Tex.)

  2.    Janvey v. Wieselberg, et al., No. 3:10-cv-1394 (N.D. Tex.)

  3.    Janvey v. Suarez, No. 3:10-cv-02581-N (N.D. Tex.)

  4.    Janvey & OSIC v. Alvarado, et al., No. 3:10-cv-2584-N (N.D. Tex.)

  5.    Janvey & OSIC v. Giusti, No. 3:11-cv-292 (N.D. Tex.)

  6.    Janvey v. Stanford, No. 3:11-cv-1199 (N.D. Tex.)

  7.    Janvey v. Conzelman and Johnson, No. 3:11-cv-2788 (N.D. Tex.)

  8.    Janvey v. Hamric, et al., No. 3:13-cv-775-N (N.D. Tex.)

  9.    Janvey v. Comeaux, No. 3:13-cv-04700-N-BQ (N.D. Tex.)

  10.   Janvey v. Hamm, No. 3:14-cv-03213-N-BQ (N.D. Tex.)

  11.   Janvey v. Staley, No. 3:14-cv-03559-N-BQ (N.D. Tex.)

  12.   Janvey v. Amadio et al, No. 3:14-cv-03560-N-BQ (N.D. Tex.)

  13.   Janvey & OSIC v. Bogar, et al., No. 3:14-cv-3635-N (N.D. Tex.)

  14.   In re: Charles Brickey, No. 11-26722 (Bankr. W.D. Tenn.)

  15.   Janvey v. Hughes, No. 1:15-ap-90312 (Bankr. M.D. Tenn.)

  16.   In re: Charles Hughes, No. 1:15-bk-02164 (Bankr. M.D. Tenn.)

  17.   In re: Michael Ralby, No. 9:18-bk-11784 (Bankr. S.D. Fla.)

  18.   In re: Edward Prieto, No. 17-24641-PGH (Bankr. S.D. Fla.)

  19.   In the Matter of the Estate of Robert Otis Lenoir, Deceased, Cause No. 18-PR-00353
        (Miss. Chancery Court)



  CASES AGAINST STANFORD INVESTORS

  1.    Janvey v. Alguire, et al., No. 3:09-cv-0724-N (N.D. Tex.)

  2.    Janvey v. Letsos, No. 3:09-cv-01329-N (N.D. Tex)


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  3.     Janvey v. Venger et al, No. 3:10-cv-00366-N-BQ (N.D. Tex.)

  4.     Janvey v. Rodriguez Posada, et al., No. 3:10-cv-00415-N (N.D. Tex.)

  5.     Janvey v. Gilbe Corp., et al., , No. 3:10-cv-00478-N-BQ (N.D. Tex.)

  6.     Janvey v. Buck’s Bits Service, Inc., et al., No. 10-cv-00528-N (N.D. Tex.)

  7.     Janvey v. Johnson, et al., No. 10-cv-00617-N (N.D. Tex)

  8.     Janvey v. Barr, et al., No. 10-cv-00725-N (N.D. Tex.)

  9.     Janvey v. Indigo Trust, et al, No. 3:10-cv-00844-N-BQ (N.D. Tex.)

  10.    Janvey v. Dokken, et al., No. 3:10-cv-00931-N (N.D. Tex.)

  11.    Janvey v. Fernandez et al, No. 3:10-cv-01002-N-BQ (N.D. Tex.)

  12.    Janvey v. GMAG LLC et al, No. 3:15-cv-00401-N-BQ (N.D. Tex.)

  13.    Janvey v. GMAG LLC et al, No. 17-11526 (5th Cir.)

  14.    Janvey v. GMAG LLC et al, No. 19-0452 (Tex.)

  15.    In re: Michael Ross Hicks, No. 5:16-bk-52344 (Bankr. W.D. Tex.)

  16.    Estate of Michael Ross Hicks, Deceased, Cause No. 2018PCB0500 (County Court at
         Law, Comal Co., Tex.)



  FRAUDULENT TRANSFER CASES

  1.     Janvey v. Barnes et al, No. 3:10-cv-00527-N-BQ (N.D. Tex.)

  2.     Janvey et al v. The University of Miami, No. 3:11-cv-00041-N-BQ (N.D. Tex.)



  THIRD PARTY LIABILITY CASES

    1.   Rotstain v. Trustmark National Bank, et al., No. 3:09-cv-02384-N (N.D. Tex.)

    2.   Troice v. Willis of Colorado, Inc., et al., No. 09-1274-N (N.D. Tex.)

    3.   Official Stanford Investors Committee et al. v. Willis of Colorado, Inc., et al., No. 3:13-
         cv-03980-N (N.D. Tex.)




                                                                                         EXHIBIT G
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   4.   Official Stanford Investors Committee et al v. Willis of Colorado, Inc. et al, No. 17-11114
        (5th Cir.)

   5.   Janvey & OSIC v. Breazeale, Sachse, & Wilson, et al., No. 3:11-cv-329-N (N.D. Tex.)

   6.   Janvey, et al. v. Greenberg Traurig, LLP, et al., No. 3:12-cv-4641-N (N.D. Tex.) (as to
        Yolanda Suarez only, and only with respect to her obligations under her separate
        settlement agreement; thus, for the avoidance of doubt, Suarez is included within the
        definition of Greenberg Released Parties, but her obligations under her separate
        settlement agreement are not released by this Settlement Agreement).

   7.   Janvey v. Adams & Reese et al, No.3:12-cv-00495-N-BQ (N.D. Tex.)




                                                                                      EXHIBIT G
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                                           EXHIBIT H

  1.   Certain Underwriters at Lloyd’s of London v. Ralph S. Janvey, No. 3:09-cv-01736-N-BQ
       (N.D. Tex.)

  2.   SEC v. Stanford International Bank, Ltd., et al., No. 17-10663 (5th Cir.)




                                                                                   EXHIBIT H
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                         EXHIBIT 2
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  paralegals are qualified by training, experience, and reputation to charge the hourly rates charged

  in connection with the Greenberg Litigation. The fees incurred were reasonable given the

  amount involved and the results obtained.

            42.        In determining reasonable attorney’s fees in this case, I considered the $1,428,285

  of time actually incurred by my firm. Based on my experience as a trial lawyer handling

  commercial litigation such as this, it is my opinion that attorney’s fees of this magnitude are

  usual and customary for the handling of cases of this type in federal court in Texas, and the time

  incurred in prosecuting this case was both reasonable and necessary. Each member of Clark Hill

  Strasburger’s legal team performed the tasks commensurate with his or her skill set and level of

  experience, and the hours each person expended were necessary and non-duplicative. The

  hourly rates that would typically have been charged for each member of Clark Hill Strasburger’s

  legal team are similarly reasonable and reflect each person’s level of experience. In my opinion,

  all of the hours spent by the attorneys and paralegals on this matter were reasonable and

  necessary. In my opinion, the rates that would typically have been charged by the attorneys and

  paralegals involved in this matter constitute normal, customary and reasonable charges for the

  services rendered.

            43.        In connection with the Greenberg Action, members of the Clark Hill Strasburger

  legal team reviewed documents, interviewed witnesses, drafted pleadings, handled document

  production, reviewed transcripts of witnesses’ testimony in criminal cases and administrative

  proceedings, and prepared witness files.                They drafted initial disclosures, answered

  interrogatories, drafted and responded to requests for admission, drafted and responded to

  requests for production and drafted protective orders. They responded to a motion to compel and

  attended hearings. They also briefed legal issues such as attorney immunity, in pari delicto,



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                          EXHIBIT 5
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                           DECLARATION OF SCOTT D. POWERS

         Pursuant to 28 U.S.C. § 1746, I, Scott D. Powers, hereby declare under penalty of perjury

  that I have personal knowledge of the following facts:

         1.      My name is Scott D. Powers.        I am over the age of eighteen (18) and am

  competent to make this Declaration.

         2.      I am admitted to practice law in the State of Texas, and am admitted to practice

  before various federal courts, including the U.S. Court of Appeals for the Fifth Circuit and the

  U.S. District Court for the Northern District of Texas. I have been licensed to practice law since

  2000, and I am a partner in the law firm of Baker Botts LLP (“Baker Botts”).

         3.      Baker Botts has served as lead counsel to Ralph S. Janvey, in his capacity as the

  Court-appointed Receiver in the Stanford Financial Group SEC receivership proceedings, since

  those proceedings were initiated in 2009 in the case styled SEC v. Stanford International Bank,

  Ltd., et al., Civil Action No. 3:09-CV-0298-N. In its role as lead counsel, Baker Botts has

  reviewed litigation-related expenses incurred by, and paid to, the Receiver, counsel for the

  Receiver, counsel for the Official Stanford Investors Committee, and expert witnesses and/or

  related firms, including expenses related to lawsuits such as Janvey et al. v. Greenberg Traurig,

  LLP, et al., Civil Action No. 3:12-CV-04641-N-BQ (the “Greenberg Litigation”).

         4.      I have reviewed records of the Receivership related to the litigation fees and

  expenses incurred by the Receiver, counsel for the Receiver, counsel for the Official Stanford

  Investors Committee, and expert witnesses and/or related firms in the Greenberg Litigation,

  which are summarized in the following table:




  DECLARATION OF SCOTT D. POWERS                                                                 1
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                   Amount       Notes

                         $722.67 Baker Botts expenses – May 2018 (Invoice No.
                                 1604292)
                         $523.94 Baker Botts expenses – July 2018 (Invoice No.
                                 1612370)
                       $1,901.17 Baker Botts expenses – August 2018 (Invoice No.
                                 1614704)
                         $464.14 Baker Botts expenses – September 2018 (Invoice No.
                                 1620841)
                          $69.86 Baker Botts expenses – November 2018 (Invoice No.
                                 1629635)
                       $3,835.70 Baker Botts expenses – January 2019 (Invoice No.
                                 1634792)
                       $1,781.43 Baker Botts expenses – February 2019 (Invoice No.
                                 1639855)
                       $(231.98) Baker Botts expenses – April 2019 (Invoice No.
                                 1650669)
                         $707.59 Baker Botts expenses – June 2019 (Invoice No.
                                 1656707)
                       $1,318.50 Baker Botts expenses – July 2019 (Invoice No.
                                 1661796)
                       $5,382.50 BDO fees – November 2018 (Invoice No. 001065484)

                       $9,037.50 BDO fees – December 2018 (Invoice No. 001162342)

                      $53,991.25 BDO fees – January 2019 (Invoice No. 001087015)

                     $135,073.75 BDO fees – February 2019 (Invoice No. 001094287)

                      $42,007.50 BDO fees – March 2019 (Invoice No. 001133895)

                      $21,257.50 BDO fees – April 2019 (Invoice No. 001134082)

                      $45,075.00 BDO fees – May 2019 (Invoice No. 001163314)

                      $85,370.00 BDO fees – June 2019 (Invoice No. 001172664)

                      $45,327.50 BDO fees – July 2019 (Invoice No. 001181910)

                      $12,407.50 BDO fees – August 2019 (Invoice No. 001196423)




  DECLARATION OF SCOTT D. POWERS                                                      2
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                   Amount        Notes

                         $410.20 Castillo Snyder expenses – November 2017 (Invoice
                                 No. 2636)
                       $6,884.16 Castillo Snyder expenses – May-August 2018 (Invoice
                                 No. 2721)
                      $13,697.51 Castillo Snyder expenses – September-December 2018
                                 (Invoice No. 2719)
                      $12,421.71 Castillo Snyder expenses – November 2018-February
                                 2019 (Invoice No. 2757)
                       $9,467.54 Castillo Snyder expenses – April 2019 (Invoice No.
                                 2775)
                      $19,405.37 Castillo Snyder expenses – May-June 2019 (Invoice
                                 No. 2784)
                       $4,003.46 Castillo Snyder expenses – July-August 2019 (Invoice
                                 No. 2811)
                       $1,633.76 Castillo Snyder expenses – October 2019 (Invoice No.
                                 2811)
                       $1,786.40 FTI fees – July 2018 (Invoice No. 7486619)

                       $7,001.60 FTI fees – August 2018 (Invoice No. 7489034)

                       $4,373.60 FTI fees – September 2018 (Invoice No. 7491856)

                       $2,226.00 FTI fees – October 2018 (Invoice No. 7494649)

                        $352.80 FTI fees – November 2018 (Invoice No. 7497727)

                       $5,479.60 FTI fees – January 2019 (Invoice No. 7502675)

                       $2,994.80 FTI fees – February 2019 (Invoice No. 7505311)

                       $1,308.00 FTI fees – March 2019 (Invoice No. 7508909)

                      $34,006.80 FTI fees – April 2019 (Invoice No. 7511619)

                      $40,104.80 FTI fees – May 2019 (Invoice No. 7515448)

                        $479.60 FTI fees – June 2019 (Invoice No. 7518546)

                      $27,650.00 Herring & Panzer fees – October 2018 (Invoice No.
                                 15979)



  DECLARATION OF SCOTT D. POWERS                                                        3
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                   Amount       Notes

                       $3,710.00 Herring & Panzer fees – November 2018 (Invoice No.
                                 15999)
                      $14,595.00 Herring & Panzer fees – December 2018 (Invoice No.
                                 16018)
                      $76,930.00 Herring & Panzer fees – January-March 2019 (Invoice
                                 No. 16015)
                     $144,935.00 Herring & Panzer fees – April-June 2019 (Invoice No.
                                 16104)
                      $80,191.74 FCPA Professor (Koehler) fees and expenses –
                                 September 2018-June 2019
                       $2,475.00 FCPA Professor (Koehler) fees – July 2019

                      $13,350.00 Lemke fees – July-August 2018

                      $17,097.00 Lemke fees and expenses – October-November 2018

                      $26,880.00 Lemke fees – December 2018-January 2019

                      $35,435.53 Lemke fees and expenses – February-March 2019

                      $25,935.29 Lemke fees and expenses – April-May 2019

                       $8,659.45 Lemke fees and expenses – June 2019

                       $5,700.00 Lemke fees – July 2019

                       $4,871.86 Neligan expenses – July 2017-July 2018 (Invoice No.
                                 24454)
                       $2,035.88 Neligan expenses – August 2018 (Invoice No. 24457)

                       $2,413.17 Neligan expenses – May-September 2018 (Invoice No.
                                 24468)
                       $6,571.28 Neligan expenses – October-November 2018 (Invoice
                                 No. 24494)
                       $1,192.14 Neligan expenses – December 2018 (Invoice No. 24500)

                       $3,652.57 Neligan expenses – January 2019 (Invoice No. 24506)

                       $9,968.19 Neligan expenses – February 2019 (Invoice No. 24515)




  DECLARATION OF SCOTT D. POWERS                                                        4
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                   Amount        Notes

                       $1,785.71 Neligan expenses – March 2019 (Invoice No. 24518)

                       $1,129.76 Neligan expenses – April 2019 (Invoice No. 24531)

                       $5,686.40 Neligan expenses – May 2019 (Invoice No. 24543)

                       $2,703.25 Neligan expenses – June 2019 (Invoice No. 24546)

                       $6,581.24 Neligan expenses – July 2019 (Invoice No. 24562)

                       $2,432.20 Neligan expenses – August 2019 (Invoice No. 24564)

                       $1,787.50 Spindler fees – July 2018

                       $5,037.50 Spindler fees – September-October 2018

                       $9,912.50 Spindler fees – November-December 2018

                      $20,637.50 Spindler fees – January 2019

                      $59,475.00 Spindler fees – February 2019

                       $4,550.00 Spindler fees – March 2019

                       $9,587.50 Spindler fees – April 2019

                      $57,687.50 Spindler fees – May 2019

                      $44,924.35 Spindler fees and expenses – June 2019

                       $6,175.00 Spindler fees – July 2019

                       $1,137.50 Spindler fees – August 2019

                        $252.00 Clark Hill Straburger expenses – July 2018

                          $28.00 Clark Hill Straburger expenses – September 2018

                        $757.00 Clark Hill Straburger expenses – October 2018




  DECLARATION OF SCOTT D. POWERS                                                      5
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                     Amount           Notes

                            $802.97 Clark Hill Straburger expenses – November 2018

                          $1,053.92 Clark Hill Straburger expenses – January 2019

                          $4,023.45 Clark Hill Straburger expenses – February 2019

                             $12.00 Clark Hill Straburger expenses – March 2019

                          $1,165.63 Clark Hill Straburger expenses – April 2019

                          $2,425.74 Clark Hill Straburger expenses – May 2019

                         $10,099.74 Clark Hill Straburger expenses – June 2019

                          $4,896.30 Clark Hill Straburger expenses – July 2019

    Total             $1,415,056.99


  Executed on October 15, 2019.


                                              _______________________________
                                              Scott D. Powers




  DECLARATION OF SCOTT D. POWERS                                                     6
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                          EXHIBIT 6
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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


   SECURITIES AND EXCHANGE                        §
   COMMISSION,                                    §
                                                  §
          Plaintiff,                              §
                                                  §
   v.                                             §        Civil Action No. 3:09-cv-0298-N
                                                  §
   STANFORD INTERNATIONAL BANK,                   §
   LTD., et al.,                                  §
                                                  §
          Defendants.                             §
                                                  §


   RALPH S. JANVEY, in his capacity               §
   as Court-appointed receiver                    §
   for the Stanford Receivership                  §
   Estate, the OFFICIAL STANFORD                  §
   INVESTORS COMMITTEE; and PAM                   §
   REED, Samuel Troice and MICHOACAN              §
   TRUST, individually and on behalf of a class   §        Civil Action No. 3:12-cv-04641-N
   of all others similarly situated,              §
                                                  §
          Plaintiffs,                             §
                                                  §
   v.                                             §
                                                  §
   GREENBERG TRAURIG, LLP, and                    §
   GREENBERG TRAURIG, P.A.,                       §
                                                  §
          Defendants.                             §
                                                  §


                         ORDER APPROVING ATTORNEYS’ FEES

         Before the Court is the Expedited Request for Entry of Scheduling Order and Motion to

  Approve Proposed Settlement with Greenberg Traurig, LLP and Greenberg Trauring, P.A.

  (collectively, “Greenberg”), to Enter the Bar Order, to Enter the Final Judgment and Bar Order,
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  and for Plaintiffs’ Attorneys’ Fees and Expenses (the “Motion”) of the Receiver and the Official

  Stanford Investors Committee (the “Committee”) (the Receiver and the Committee, collectively,

  the “Plaintiffs”). See SEC v. Stanford Int’l Bank, Ltd., No. 3:09-cv-0298-N (N.D. Tex.) (the

  “SEC Action”) [ECF No. ______]; and Janvey v. Greenberg Traurig, LLP, et. al, No. 3:13-cv-

  0477-N-BG (N.D. Tex.) (the “Litigation”) [ECF No. _____].1 This Order addresses the request

  for approval of Plaintiffs’ attorneys’ fees contained within the Motion. All relief requested in the

  Motion other than the request for approval of attorneys’ fees was addressed in the Court’s Final

  Judgment and Bar Order entered on the same date.

          Having considered the Motion, the Declarations submitted in support of the Motion, the

  arguments and the applicable legal authorities, the Court finds that the Plaintiffs’ request for

  approval of attorneys’ fees contained within the Motion should be granted. The Court finds that

  the 25% contingency fee agreements between Plaintiffs and Plaintiffs’ counsel is reasonable and

  consistent with the percentage charged and approved by courts in other cases of this magnitude

  and complexity. The Stanford Receivership and the Litigation are extraordinarily complex and

  time-consuming and have involved a great deal of risk and capital investment by Plaintiffs’

  counsel as evidenced by the Declarations of Plaintiffs’ counsel submitted in support of the

  request for approval of their fees. The Motion and the Declarations provide ample evidentiary

  support for the award of the Plaintiffs’ attorneys’ fees set forth in this Order.

          Trial courts can determine attorneys’ fee awards in common fund cases such as this one

  using different methods. The common-fund doctrine applies when “a litigant or lawyer who

  recovers a common fund for the benefit of persons other than himself or his client is entitled to a



  1
      Capitalized terms not defined herein shall have the meaning set forth in the Motion.



  ORDER APPROVING ATTORNEYS’ FEES
                                                           2
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  reasonable attorney’s fee from the fund as a whole.” In re Harmon, No. 10-33789, 2011 WL

  1457236, at *7 (Bankr. S.D. Tex. Apr. 14, 2011) (quoting Boeing Co. v. Van Gemert, 444 U.S.

  472, 478 (1980)).

         One method for analyzing an appropriate award for Plaintiffs’ attorneys’ fees is the

  percentage method, under which the court awards fees based on a percentage of the common

  fund. Union Asset Management Holding A.G. v. Dell, Inc., 669 F.3d 632, 642-43 (5th Cir.

  2012). The Fifth Circuit is “amenable to [the percentage method’s] use, so long as the Johnson

  framework is utilized to ensure that the fee award is reasonable.” Id. at 643 (citing Johnson v.

  Georgia Hwy. Express, Inc, 488 F.2d 714 (5th Cir. 1974)). The Johnson factors include: (1) time

  and labor required; (2) novelty and difficulty of the issues; (3) required skill; (4) whether other

  employment is precluded; (5) the customary fee; (6) whether the fee is fixed or contingent; (7)

  time limitations; (8) the amount involved and the results obtained; (9) the attorneys’ experience,

  reputation and ability; (10) the “undesirability” of the case; (11) the nature and length of the

  professional relationship with the client; and (12) awards in similar cases. See Johnson, 488 F.2d

  at 717-19.

         Thus, when considering fee awards in class action cases “district courts in [the Fifth]

  Circuit regularly use the percentage method blended with a Johnson reasonableness check.” Id.

  (internal citations omitted); see Schwartz v. TXU Corp., No. 3:02-CV-2243-K (lead case), 2005

  WL 3148350, at *25 (N.D. Tex. Nov. 8, 2005) (collecting cases). While the Fifth Circuit has

  also permitted analysis of fee awards under the lodestar method, both the Fifth Circuit and

  district courts in the Northern District have recognized that the percentage method is the

  preferred method of many courts. Dell, 669 F.3d at 643; Schwartz, 2005 WL 3148350, at *25.

  In Schwartz, the court observed that the percentage method is “vastly superior to the lodestar


  ORDER APPROVING ATTORNEYS’ FEES
                                                  3
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  method for a variety of reasons, including the incentive for counsel to ‘run up the bill’ and the

  heavy burden that calculation under the lodestar method places upon the court.” 2005 WL

  3148350, at *25. The court also observed that, because it is calculated based on the number of

  attorney-hours spent on the case, the lodestar method deters early settlement of disputes. Id.

  Thus, there is a “strong consensus in favor of awarding attorneys’ fees in common fund cases as

  a percentage of the recovery.” Id. at *26.

         While the Greenberg Settlement is not a class action settlement, because the settlement is

  structured as a settlement with the Receiver and the Committee, and as a bar order precluding

  other litigation against Greenberg arising from Stanford, this Court has analyzed the award of

  attorneys’ fees to Plaintiffs’ counsel under both the common fund and the Johnson approach.

  Whether analyzed under the common fund approach, the Johnson framework, or both, the 25%

  fee sought by Plaintiffs’ counsel pursuant to their fee agreements is reasonable and is hereby

  approved by the Court.

         Having reviewed the Declarations of Plaintiffs’ counsel reflecting the investment of

  thousands of hours and millions of dollars of attorney time by Plaintiffs’ counsel in the Stanford

  Receivership as a whole and in the Greenberg Litigation specifically, the Court finds that the

  proposed 25% fee for Plaintiffs’ counsel is a reasonable percentage of the common fund (i.e. the

  $65 million settlement). “The vast majority of Texas federal courts and courts in this District

  have awarded fees of 25%-33% in securities class actions.” Schwartz, 2005 WL 3148350, at *31

  (collecting cases). “Indeed, courts throughout this Circuit regularly award fees of 25% and more

  often 30% or more of the total recovery under the percentage-of-the recovery method.” Id.

         The Court further finds that the fee is reasonable based upon the Court’s analysis of the

  Johnson factors. A review of the Johnson factors that are discussed at length in the Motion and


  ORDER APPROVING ATTORNEYS’ FEES
                                                  4
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  supported by Plaintiffs’ counsel’s Declarations also demonstrates that the proposed 25% fee is

  reasonable and should be approved. With respect to the time and labor required, Plaintiffs’

  counsel invested a tremendous amount of time and labor in this case as reflected in the Snyder,

  Buncher, and Blakeway Declarations filed in support of the Motion.           Castillo Snyder has

  invested thousands of hours, worth millions of dollars pursuing and litigating Stanford-related

  cases since 2009, and has invested over 2,600 hours of time worth roughly $1.75 million at

  Castillo Snyder’s applicable hourly rates specifically in the Greenberg Action, which is time

  incurred in the case since the settlement with Hunton & Williams was reached in August 2017.

  See Snyder Decl., at ¶ 42. Clark Hill Strasburger also has thousands of hours and millions of

  dollars of time invested in pursuing claims against third parties related to the Stanford

  Receivership, and 2,162 hours of attorney and paralegal time worth $1,428,285 specifically

  attributable to litigating the claims against Greenberg in the Greenberg Action. See Blakeway

  Decl., at ¶ 50. Neligan has also invested thousands of hours and millions of dollars pursuing

  claims against third parties in the Stanford cases as a whole since 2009, and has invested over

  2,400 hours of attorney and paralegal time worth $1,307,379.00 specifically attributable to

  litigating the claims against Greenberg in the Greenberg Action. See Buncher Decl., at ¶ 18.

         The issues presented in the Litigation were novel, difficult and complex. Several of the

  complex legal and factual issues are outlined in the Motion. Given the complexity of the factual

  and legal issues presented in this case, the preparation, prosecution and settlement of this case

  required significant skill and effort on the part of Plaintiffs’ counsel. Although participation in

  the Litigation did not necessarily preclude Plaintiffs’ counsel from accepting other employment,

  the Declarations reveal that the sheer amount of time and resources involved in investigating,

  preparing, and prosecuting the Litigation, as reflected by the hours invested by Plaintiffs’


  ORDER APPROVING ATTORNEYS’ FEES
                                                  5
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  counsel, significantly reduced Plaintiffs’ counsel’s ability to devote time and effort to other

  matters.

         The 25% fee requested is also substantially below the typical market rate contingency fee

  percentage of 33% to 40% that most law firms would demand to handle cases of this complexity

  and magnitude. See Schwartz, 2005 WL 3148350, at *31 (collecting cases and noting that 30%

  is standard fee in complex securities cases). “Attorney fees awarded under the percentage

  method are often between 25% and 30% of the fund.” Klein, 705 F. Supp. 2d at 675 (citing

  Manual for Complex Litig. (Fourth) § 14.121 (2010)); see, e.g., SEC v. Temme, No. 4:11-cv-

  00655-ALM, at *4-5 (E.D. Tex. November 21, 2012), ECF No. 162 (25% contingent fee for a

  $1,335,000 receivership settlement); Billitteri v. Sec. Am., Inc., No. 3:09-cv-01568-F (lead case),

  2011 WL 3585983, *4-9 (N.D. Tex. 2011) (25% fee for a $80 million settlement); Klein, 705 F.

  Supp. 2d at 675-81 (30% fee for a $110 million settlement).

         At the time of the Greenberg Settlement, Plaintiffs were subject to significant time

  limitation in the Litigation, as the Litigation was settled shortly after Plaintiffs responded to

  Greenberg’s motion for summary judgment and motions to exclude Plaintiffs’ expert witnesses,

  a few weeks before all pre-trial materials were due and two months before trial. Given the

  breadth and scope of activity in the Litigation as described in the Declarations of Plaintiffs’

  counsel, including extensive document production and review, numerous fact and expert witness

  depositions, and the preparation of a brief in response to Greenberg’s comprehensive motion for

  summary judgment supported by thousands of pages of exhibits and deposition transcripts, and

  preparation of responses to Greenberg’s motions to exclude Plaintiffs’ experts, Plaintiffs’

  counsel has been consistently under deadlines and time pressure in the Litigation. As set forth in

  the Declarations, the Greenberg Litigation consumed nearly all of Plaintiffs’ counsels’ time over


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  the last two years.

         The $65 million to be paid by Greenberg represents a substantial settlement and value to

  the Receivership Estate and the Stanford investors. Thus, the amount involved and results

  obtained also support approval of the requested fee.

         The Declarations of Plaintiffs’ counsel further reflect that Plaintiffs’ counsel have

  represented numerous receivers, bankruptcy trustees, and other parties in complex litigation

  matters related to equity receiverships and bankruptcy proceedings similar to the Stanford

  receivership proceeding.     Plaintiffs’ counsel have been actively engaged in the Stanford

  proceeding since its inception. Thus, the attorneys’ experience, reputation and ability also

  support the fee award. Given the complexity of the issues in the Litigation, the Greenberg

  Settlement, as well as other settlements achieved by Plaintiffs’ counsel in the Stanford

  Receivership that have also been approved by this Court, are indicative of Plaintiffs’ counsel’s

  abilities to obtain favorable results in these proceedings.

         The nature and length of Plaintiffs’ counsel’s professional relationship with the client

  also supports the fee award. Plaintiffs’ counsel have represented the Receiver, the Committee,

  and investor plaintiffs in numerous actions pending before the Court in connection with the

  Stanford Receivership since 2009, all on the same 25% contingency fee arrangement.

         Finally, awards in similar cases, with which this Court is familiar, as well as those

  discussed in the Schwarz opinion, all support the fee award. A 25% contingency fee has also

  previously been approved as reasonable by this Court in its order approving the Receiver’s

  agreement with the Committee regarding the joint prosecution of fraudulent transfer and other

  claims by the Receiver and the Committee (the “OSIC-Receiver Agreement”). See SEC Action

  ECF No. 1267, p. 2 (“The Court finds that the fee arrangement set forth in the Agreement is


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  reasonable.”); see also OSIC-Receiver Agreement SEC Action ECF No. 1208, Ex. A, p. 3

  (providing a “contingency fee” of 25% of any Net Recovery in actions prosecuted by the

  Committee’s designated professionals).

         This Court has also approved a 25% contingency fee in connection with the Court’s

  approval of the settlement of the other cases brought by the Receiver against the law firms

  Adams & Reese, Chadbourne, Hunton and Proskauer settlements, as well as the settlements with

  BDO, Kroll and Bowen Mclette & Britt (‘BMB”). See Order approving attorneys’ fees in

  connection with the Adams & Reese settlement [SEC Action ECF. No. 2231]; Order approving

  attorneys’ fees in connection with the Chadbourne & Parke settlement [SEC Action ECF 2366];

  Order approving attorneys’ fees in connection with the Hunton settlement [SEC Action ECF No.

  2702]; and Order approving attorneys’ fees in connection with the Proskauer settlement [SEC

  Action ECF No. 2820]; See also Official Stanford Inv’rs Comm. v. BDO USA, LLP, No. 3:12-cv-

  01447-N-BG (N.D. Tex. Sept. 23, 2015) [ECF No. 80] (order approving 25% contingency fee in

  connection with BDO settlement); Order approving attorneys’ fees for Kroll settlement [SEC

  Action, ECF No. 2364]; and Order approving attorneys’ fees for BMB settlement [SEC Action,

  ECF No. 2567].

         For these reasons, the Court finds the 25% contingency fee requested in connection with

  the Greenberg Settlement is well within the range of reasonableness for cases of the magnitude

  and complexity as the Greenberg Litigation. The Court therefore hereby approves the award of

  Plaintiffs’ attorneys’ fees in the amount of $15,896,235.75 as requested in the Motion. The

  Court also hereby authorizes the Receiver to reimburse the Receivership Estate from the

  settlement proceeds the total sum of $1,415,056.99 for expenses advanced by the Receiver in the

  Greenberg Litigation.


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         The Receiver is, therefore:

         ORDERED to pay Plaintiffs’ counsel attorneys’ fees in the amount of $15,896,235.75

  upon receipt of the Settlement Amount in accordance with the terms of the Greenberg Settlement

  Agreement.

         FURTHER ORDERED that the Receiver shall reimburse expenses paid by the

  Receivership Estate from the settlement proceeds in the amount of $1,415,056.99.

         Signed __________________.


                                             _________________________________
                                                       David C. Godbey
                                                   United States District Judge




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                          EXHIBIT 7
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                  DECLARATION OF EXAMINER JOHN J. LITTLE

         Pursuant to 28 U.S.C. § 1746, I, John J. Little, hereby declare under penalty of

  perjury that I have personal knowledge of the following facts:

         1.     My name is John J. Little. I am over the age of eighteen (18) and am

  competent to make this Declaration.

         2.     I am admitted to practice law in the State of Texas, and am admitted to

  practice before various federal courts, including the United States Supreme Court, the

  U.S. Courts of Appeal for the Fifth and Eleventh Circuits, the United States Tax Court

  and the U.S. District Courts for the Northern, Eastern and Southern Districts of Texas. I

  have been practicing law in Dallas, Texas since 1983, and have been a partner in the

  Dallas law firm Little Pedersen Fankhauser, LLP, since 1994.

         3.     By Order dated April 20, 2009, I was appointed by Judge David C. Godbey

  (the “Court”) to serve as the Examiner in the Stanford Financial Group receivership

  proceedings. SEC v. Stanford International Bank, Ltd., et al., Civil Action No. 3:09-CV-

  0298-N (the “SEC Action”), ECF No. 322 (the “Examiner Order”). Pursuant to the

  Examiner Order, I was directed to “convey to the Court such information as the

  Examiner, in his sole discretion, shall determine would be useful to the Court in

  considering the interests of the investors in any financial products, accounts, vehicles or




  DECLARATION OF EXAMINER JOHN J. LITTLE                                                    1
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   ventures sponsored, promoted or sold by any Defendants1 in this action (the

  “Investors”).”

         4.      By Order dated August 10, 2010, the Court created the Official Stanford

  Investors Committee (“OSIC”) to represent Stanford Investors in the Stanford Financial

  Receivership proceedings and all related matters. SEC Action, ECF No. 1149 (the

  “OSIC Order”). The OSIC Order defined “Stanford Investors” as “the customers of

  SIBL who, as of February 16, 2009, had funds on deposit at SIBL and/or were holding

  certificates of deposit issued by SIBL.” OSIC Order at 2. The OSIC Order conferred

  upon the OSIC “rights and responsibilities similar to those of a committee appointed to

  serve in a bankruptcy case.” The OSIC Order appointed me, as Examiner, to serve as a

  member of the OSIC and as its initial Chair. I have served as the Chair of the OSIC since

  its formation and continue to so serve.

         5.      The OSIC Order specifically authorized the OSIC to pursue claims on a

  contingency fee basis against (a) Stanford’s pre-receivership professionals, and (b) the

  officers, directors and employees of any Stanford entity.2 OSIC Order at 8.

                        A.      The Receiver and OSIC Retain Counsel

         6.      In my capacity as Chair of the OSIC, I negotiated and executed an

  engagement agreement dated November 12, 2012, pursuant to which the OSIC retained


  1
           The Defendants include Stanford International Bank, Ltd., Stanford Group Company, Stanford
  Capital Management, LLC, Robert Allen Stanford, James M. Davis, Laura Pendergest-Holt, Stanford
  Financial Group, The Stanford Financial Group Bldg. Inc. The Receivership encompasses Defendants
  and all entities they own or control.
  2
          This authority was limited in that the OSIC could not pursue claims that were duplicative of
  claims already being prosecuted by the Receiver. OSIC Order at 8.


  DECLARATION OF EXAMINER JOHN J. LITTLE                                                           2
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  Castillo Snyder, P.C. (“CS”), Strasburger & Price, LLP (“SP”)3, Neligan Foley, LLP

  (“NF”), and Butzel Long, P.C. (“BL”) to represent the OSIC in connection with the

  prosecution of claims against Greenberg Traurig, LLP (“Greenberg”), Hunton &

  Williams, LLP (“Hunton”) and Yolanda Suarez (“Suarez”) (the “Greenberg Claims”).

  The November 12, 2012 engagement agreement contemplated that the four law firms

  would be compensated for their services through a contingent fee of twenty-five percent

  (25%) of the Net Recovery realized in respect of the Greenberg Claims.

         7.     The Receiver similarly executed an engagement letter with NF, dated as of

  June 21, 2012, to represent the Receiver with respect to the Greenberg Claims; that

  engagement letter also contemplated the payment of a contingent fee of twenty-five

  (25%) of the Net Recovery realized in respect of the Greenberg Claims.

         8.     In my capacity as Chair of the OSIC, I negotiated and executed a Revised

  Fee Agreement with CS, SP, NF and BL with respect to the Greenberg Claims dated as of

  April 10, 2014. The April 10, 2014 Revised Fee Agreement provided that the four law

  firms would be compensated for their services through a contingent fee of twenty-five

  percent (25%) of the Net Recovery realized in respect of the Greenberg Claims. In

  connection with the execution of the April 10, 2014 Revised Fee Agreement, the four law

  firms entered into an agreement that addressed how those firms would divide the work to

  be done in prosecuting the Greenberg Claims and any fees paid with respect to the

  Greenberg Claims.


  3
         Neligan Foley is now known as Neligan. As of April 11, 2018, Strasburger & Price became
  known as Clark Hill Strasbuger.


  DECLARATION OF EXAMINER JOHN J. LITTLE                                                     3
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         9.      In my capacity as Chair of the OSIC, and together with the Receiver, I

  negotiated and executed a Revised Fee Agreement between the Receiver and CS, SP, and

  NF, dated as of October 1, 2018. The October 1, 2018 Revised Fee Agreement was

  executed to reflect that the OSIC was no longer going to be a named plaintiff in the

  action brought by the Receiver and OSIC with respect to the Greenberg Claims. It was

  also executed to reflect a reduced role for BL in the prosecution of the Greenberg Claims.

         10.     The October 1, 2018 Revised Fee Agreement, like all of the preceding fee

  agreements, contemplated that the law firms (CS, SP, NF and BL4) would be

  compensated for their services through a contingent fee of twenty-five percent (25%) of

  the Net Recovery realized in respect of the prosecution of the Greenberg Claims. The

  “Net Recovery” was defined as the “Recovery (as defined below)5 in connection with the

  Greenberg Claims, after deducting allowable expenses and disbursements.”

                                  B.     The Greenberg Action

         11.     On November 15, 2012, the Receiver and OSIC6 filed Original Complaint

  in Cause No. 3:12-cv-4641 (the “Greenberg Action”), ECF No. 1.                   The Complaint


  4
         Pursuant to the October 1, 2018 Revised Fee Agreement, BL retained an interest in any
  fees paid with respect to the Greenberg Claims but was no longer responsible for the on-going
  prosecution of the Greenberg Claims.
  5
         “Recovery” was defined as “anything of value directly or indirectly received by the
  [Stanford Receivership Estate] as a result of the pursuit of the Greenberg Claims, including but
  not limited to the proceeds of any settlement or other disposition or a direct monetary payment or
  award.”
  6
          The Original Complaint was also filed by Samuel Troice, Michoacan Trust, Sandra
  Dorrell and Pam Reed (who was substituted for Sandra Dorrell), on behalf of themselves and a
  putative class. Samuel Troice, Michoacan Trust, Sandra Dorrell and Pam Reed, and the putative
  class they sought to represent, are referred to herein collectively as the “Investor Plaintiffs.”


  DECLARATION OF EXAMINER JOHN J. LITTLE                                                         4
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  asserted claims against Greenberg for negligence, aiding and abetting breaches of

  fiduciary duties, breaches of fiduciary duties, fraudulent transfer/unjust enrichment,

  aiding and abetting fraudulent transfers, negligent retention, aiding and abetting

  violations of the Texas Securities Act (“TSA”), aiding and abetting a fraudulent scheme,

  and civil conspiracy.

         12.     The Defendants filed separate motions to dismiss the claims asserted by the

  Receiver and OSIC and the claims brought by the Investor Plaintiffs. Greenberg Action,

  ECF Nos. 27, 29, 56, 90. Troice Action in December 2009. [Troice Action, ECF Nos.

  31, 36, 44].

         13.     By Orders dated December 17, 2014, Greenberg Action, ECF No. 114, and

  February 4, 2015, Greenberg Action, ECF No. 123, the Court granted in part and denied

  in part Greenberg’s motions to dismiss the Complaint.          The Court dismissed with

  prejudice the Receiver’s and OSIC’s claims for aiding and abetting fraudulent transfers,

  the Investor Plaintiffs’ TSA claims for aiding and abetting and civil conspiracy for the

  sale of unregistered securities and the sale of securities by an unregistered dealer arising

  from sales taking place prior to February 1, 2008, and the Investor Plaintiffs’ TSA claims

  for aiding and abetting and civil conspiracy for the sale of securities through untruth or

  omission arising from sales taking place prior to February 1, 2006. The Court also

  dismissed without prejudice the Receiver and OSIC’s claims for breach of fiduciary duty.

  With respect to all other claims asserted against Greenberg, the Court denied the motions

  to dismiss.




  DECLARATION OF EXAMINER JOHN J. LITTLE                                                   5
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         14.    The Court issued its Class Certification Scheduling Order on August 11,

  2015. Greenberg Action,. ECF No. 142. The parties then engaged in six months of class

  certification discovery and briefing, and filed all of their class certification evidence and

  briefing with the Court on February 26, 2016. Greenberg Action, ECF Nos. 174-184.

         15.    The Court granted Greenberg’s motion for judgment on the pleadings,

  Greenberg Action, ECF No. 203, as to the claims asserted by the Investor Plaintiffs and

  dismissed those claims based upon the attorney immunity doctrine.7 Greenberg Action,

  ECF No. 248. The Investor Plaintiffs appealed that ruling to the Fifth Circuit.

         16.    On March 16, 2018, the Court entered an amended Scheduling Order

  pursuant to which trial was set for October 28, 2019, fact discovery was to be conducted

  between June 1, 2018 and May 30, 2019, and expert discovery was to be conducted

  between March 1 and July 1, 2019. Greenberg Action, ECF No. 262.

         17.    The Receiver, OSIC and the Investor Plaintiffs filed their Amended

  Complaint on October 12, 2018. Greenberg Action, ECF No. 278. Shortly thereafter, on

  November 19, 2018, the Receiver and the Investor Plaintiffs filed their Second Amended

  Complaint. Greenberg Action, ECF No. 287. The Second Amended Complaint asserted

  “Receiver Claims” against Greenberg for (i) aiding, abetting, or participation in breaches

  of fiduciary duties, (ii) breaches of fiduciary duties, (iii) fraudulent transfer/unjust

  enrichment, and (iv) negligent retention/negligent supervision. It asserted “Investor Class

  Causes of Action” against Greenberg for (i) aiding and abetting violations of the TSA,


  7
         The Court’s decision to grant Greenberg’s motion for judgment on the pleadings rendered
  the Investor Plaintiffs’ motion for class certification moot.


  DECLARATION OF EXAMINER JOHN J. LITTLE                                                     6
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  (ii) participation in/aiding and abetting breach of fiduciary duty, (iii) aiding and

  abetting/participation in a fraudulent scheme, (iv) civil conspiracy, and (v) respondeat

  superior.

         18.    The Second Amended Complaint omitted OSIC from the list of parties, and

  brought no claims on behalf of OSIC. Pursuant to the October 1, 2018 Revised Fee

  Agreement, the Second Amended Complaint was brought by CS, NF, and SP

  (collectively, “Plaintiffs’ Counsel”).

         19.    Greenberg filed a motion for judgment on the pleadings as to the Receiver

  Claims on December 4, 2018. Greenberg Action, ECF Nos. 292, 293. The Receiver

  filed his opposition to that motion on December 17, 2018. Greenberg Action, ECF No.

  297.

         20.    Pursuant to the Court’s Scheduling Order dated March 16, 2018, discovery

  in the Greenberg Action has been extensive and exhaustive. Plaintiffs’ Counsel took the

  depositions of sixteen (16) fact witnesses (Yolanda Suarez, Carlos Loumiet, Tony Nunes,

  Patrick O’Brien, Jane Bates, Rebecca Hamric, Deon Warner, Mark Schnapp, Henry

  Amadio, Bowman Brown, Burt Bruton, Jennifer Demberg Cohen, Carl Fornaris,

  Fernando Margarit, Bonnie Moncada, and Ronald Rosengarten), and nine (9) of

  Greenberg’s expert witnesses (Charles Stutts, Mark Perlow, Martin Weinstein, Royal

  Furgeson, David Fuller, Richard Gordon, Stephen Halpert, Roberta Karmel, and Patrick

  Kelley). Plaintiffs’ Counsel also defended the deposition of the Receiver and of five (5)

  expert witnesses (Karyl Van Tassel, Charles Herring, Thomas Lemke, James Spindler,

  and Mike Koehler).


  DECLARATION OF EXAMINER JOHN J. LITTLE                                                7
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         21.     On May 9, 2019, the Fifth Circuit affirmed this Court’s order granting

  Greenberg’s motion for judgment on the pleadings, based upon the attorney immunity

  doctrine, as to the claims asserted by the Investor Plaintiffs.       Troice v. Greenberg

  Traurig, LLP, 921 F.3d 501 (5th Cir. 2019). The dismissal of the claims asserted by the

  Investor Plaintiffs is now final.

         22.     Greenberg filed its motion for summary judgment as to the Receiver

  Claims on July 22, 2019. Greenberg Action, ECF Nos. 340, 341, and 342. The Receiver

  filed his opposition to that motion on August 21, 2019. Greenberg Action, ECF Nos.

  345, 346.

         23.     Greenberg and the Receiver reached a settlement in principal two days after

  the Receiver filed his response to Greenberg’s motion for summary judgment (and sixty

  days prior to trial).

                          C.       Settlements with Hunton and Suarez

         24.     The Receiver, OSIC and the Investor Plaintiffs entered into a settlement

  agreement with Hunton dated as of August 16, 2017. That settlement agreement was

  approved by the Court through the entry of a Final Judgment and Bar Order on March 26,

  2018. Greenberg Action, ECF No. 265.

         25.     The Receiver entered into a settlement agreement with Suarez on

  September 12, 2019.          The Receiver’s claims against Suarez will be dismissed with

  prejudice once certain transfers required by the settlement agreement have been

  concluded.




  DECLARATION OF EXAMINER JOHN J. LITTLE                                                 8
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                  D.     Examiner Involvement in the Greenberg Action

         26.    In my capacity as the OSIC Chair, I have worked closely with the Receiver,

  his counsel, Plaintiffs’ counsel, and putative class counsel to coordinate the prosecution

  of claims against third parties for the benefit of the Receivership Estate and Stanford

  Investors, including the claims asserted in the Greenberg Action.

         27.    In that regard, I have been involved, as Chair of OSIC, in the OSIC’s

  prosecution of the Receiver Claims in the Greenberg Action, and have conferred

  regularly with Plaintiffs’ Counsel concerning every aspect of the Greenberg Action.

         28.    Plaintiffs’ Counsel have spent several years and thousands of hours

  investigating and pursuing the claims asserted in the Greenberg Action. The materials

  reviewed by OSIC’s counsel included, among other materials, thousands of pages of SEC

  and other investigation materials, thousands of pages of deposition and trial testimony

  from the prosecution of Allen Stanford and others, thousands of emails of Stanford and

  Greenberg personnel, and hundreds of boxes of materials, including Greenberg materials

  and files, that the Receiver secured from Stanford’s various offices and law firms.

         29.    For the last year, Plaintiffs’ Counsel have worked full time, or nearly so, to

  prepare the Greenberg Action for trial. That work has included, among other things: (a)

  propounding written discovery to Greenberg and responding to written discovery from

  Greenberg; (b) working with experts to prepare expert reports; (c) preparing and

  presenting six (6) witnesses for depositions; (d) preparing for and taking the depositions

  of sixteen (16) fact witnesses and nine (9) expert witnesses; and (e) responding to

  Greenberg’s motions for judgment on the pleadings and for summary judgment.


  DECLARATION OF EXAMINER JOHN J. LITTLE                                                   9
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                                    E.    Settlement Efforts

        30.     Three separate mediations were conducted with Greenberg.           The first

  occurred in 2012, prior to the filing of the Original Complaint, with McGowan Dispute

  Resolution in Houston, Texas.8 As required by the Court’s Scheduling Order dated

  March 16, 2018, second mediation was held on May 21, 2018 with Phillips ADR in

  Corona del Mar, California. Greenberg Action, ECF No. 262. A third mediation was

  held on April 24, 2019 with Judge Alice Oliver-Parrot in Dallas, Texas. I attended and

  participated in the second and third mediation sessions as the representative of OSIC.

        31.     The parties were unable to reach any agreement at these three mediation

  sessions. Negotiations continued following the mediation sessions and an agreement was

  finally reached in August 2019.

        32.     The parties fully executed the Greenberg Settlement Agreement in October

  2019. The Greenberg Settlement Agreement calls for Greenberg to pay $65 million to

  settle the Greenberg Action.

         F.     Examiner’s Opinion Concerning the Greenberg Settlement and
                           The Payment of Attorneys’ Fees

        33.     It is my opinion that the settlement the Receiver and OSIC reached with

  Greenberg is fair and reasonable, in the best interests of the Stanford Receivership Estate

  and the Stanford Investors, and should be approved by the Court. My opinion is based

  upon my involvement in the investigation and prosecution of the claims asserted in the

  Greenberg Actions, the risks and uncertainty inherent in any jury trial, and the length of


  8
        I was unable to attend the mediation held in Houston in 2012.


  DECLARATION OF EXAMINER JOHN J. LITTLE                                                   10
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  time it would likely take to resolve the appeals that would inevitably follow any jury

  verdict and judgment.

         34.     Any proceeds recovered from the Greenberg Action will be distributed

  through the Receiver’s existing (and already approved and operating) mechanism for

  identifying and approving claims and making distributions. Using the Receiver’s existing

  process will be far more efficient, and likely result in larger distributions to Stanford

  Investors.

         35.     As noted above, the Receiver entered into a Revised Fee Agreement with

  Plaintiffs’ Counsel that provided for the payment of a contingent fee of twenty-five

  percent (25%) of the Net Recovery realized in respect of the Greenberg Claims.

         36.     The Court has previously approved a contingent fee arrangement between

  OSIC and its counsel that provides for the payment of a 25% contingent fee on net

  recoveries from certain lawsuits prosecuted by OSIC.9 SEC Action, ECF No. 1267. The

  Court has also approved 25% contingent fees in connection with the Hunton settlement

  and in settlements of other Stanford-related lawsuits prosecuted by the OSIC. Greenberg

  Action, ECF No. 264 (approving attorneys’ fees in Hunton settlement); see also SEC

  Action, ECF No. 2820 (approving attorneys’ fees in Proskauer settlement); SEC Action,.

  ECF No. 2364, (approving fees in Kroll settlement); SEC Action, ECF No. 2366

  (approving fees in Chadbourne settlement); Official Stanford Investor Committee v. BDO




  9
         The referenced Order addressed the OSIC’s prosecution of certain fraudulent transfer and unjust
  enrichment actions.


  DECLARATION OF EXAMINER JOHN J. LITTLE                                                           11
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  USA, LLP, Civil Action No. 3:12-cv-01447-N, ECF No. 80 (N.D. Tex. Sept. 23, 2015)

  (approving fees in BDO settlement).

        37.    The Revised Fee Agreement entered between the Receiver and Plaintiffs’

  Counsel was modeled after the contingency fee agreement already approved by the Court

  in the SEC Action. SEC Action, ECF No. 1267.

        38.    For the same reasons the Court previously found the twenty-five percent

  (25%) contingent fee agreement between the OSIC and its counsel to be reasonable, see

  id., p. 2, the Court should find the twenty-five percent (25%) contingent fee applicable to

  the settlement with Greenberg to be reasonable and approve it for payment.

        39.    It is my opinion that the attorneys’ fee requested is reasonable in

  comparison to the total net amount to be recovered for the benefit of the Stanford

  Investors. The twenty-five percent (25%) contingent fee was heavily negotiated between

  and among the Receiver, OSIC and Plaintiffs’ Counsel, and is substantially below the

  typical market rate contingency fee percentage of 33% to 40% that most law firms would

  demand to handle cases of this complexity and magnitude.

        40.    I respectfully submit that an award of attorneys’ fees equal to twenty-five

  percent (25%) of the Net Recovery from the settlement with Greenberg is reasonable,

  necessary and appropriate considering the significant time, effort, and resources which

  Plaintiffs’ Counsel have invested in investigating the Stanford fraud, prosecuting and

  resolving the Greenberg Action, and prosecuting the other Stanford-related litigation.

        Executed on October 15, 2019.
                                                            _________________________
                                                               John J. Little


  DECLARATION OF EXAMINER JOHN J. LITTLE                                                   12
